       Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 1 of 65                      FILED
                                                                                 2017 Aug-14 PM 03:02
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

                                        )
CITY OF BIRMINGHAM, ALABAMA, a          )
municipal corporation,                  )
                                        )
                             Plaintiff, )
                                        )
v.                                      )   CIVIL ACTION NO. ________________
                                        )
AMERISOURCEBERGEN DRUG                  )
CORPORATION,                            )
                                        )
CARDINAL HEALTH, INC., and              )
                                        )                COMPLAINT
McKESSON CORPORATION,                   )
                                        )
                                        )
                           Defendants. )    Complaint for Public Nuisance; Drug
                                        )   Related Nuisance; Violations of Racketeer
                                        )   Influenced and Corrupt Organizations Act
                                        )   (RICO) 18 U.S.C.A. § 1962 and;
                                        )   Negligence;
                                        )
                                        )
                                        )
                                        )   JURY TRIAL DEMANDED AND
                                        )   ENDORSED HEREON
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            Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 2 of 65



       Plaintiff, CITY OF BIRMINGHAM, ALABAMA, alleges that certain DEA registered

distributors unlawfully sold millions of prescription opioids into the City of Birmingham,

Alabama. See Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017).

Plaintiff asserts that such unlawful conduct resulted in the foreseeable, widespread diversion of

prescription opioids into the illicit market, 1970 U.S.C.C.A.N. 4566, 4571-72, creating a serious

public health and safety crisis in the City of Birmingham involving opioid abuse, addiction,

morbidity and mortality and is a public nuisance.            Plaintiff, CITY OF BIRMINGHAM,

ALABAMA, has standing to abate this public nuisance. See ALA. CODE § 6-5-122 (“All

municipalities in the State of Alabama may commence an action in the name of the city to abate

or enjoin any public nuisance injurious to the health, morals, comfort, or welfare of the

community or any portion thereof.”); ALA. CODE § 11-47-118 (“Municipalities may maintain a

civil action to enjoin and abate any public nuisance, injurious to the health, morals, comfort, or

welfare of the community or any portion thereof.”).

       In support of its effort, Plaintiff alleges as follows:


                                            I. PARTIES

       A. Plaintiff, City of Birmingham

       1.       Plaintiff, the City of Birmingham,     Alabama    (“Plaintiff”   or   the   “City

of Birmingham”) is a municipal corporation organized under the laws of the State of Alabama.

The City of Birmingham is responsible for the public health, safety and welfare of its citizens.

The City of Birmingham has standing to bring this suit. ALA. CODE ANN. § 11-40-1 (“All

municipal organizations now existing in the State of Alabama . . . shall sue and be sued … . Such

municipal corporations shall be invested with the full powers, duties, and authority granted in




                                                   2
             Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 3 of 65



this title.”).    The City of Birmingham is authorized to seek common law public nuisance

remedies available under Alabama law. ALA. CODE § 6-5-122; ALA. CODE § 11-47-118.

        2.        Plaintiff also has standing to recover the costs of abating a public nuisance,

pursuant to ALA. CODE § 11-47-117 (“All cities and towns of this state shall have the power to

prevent injury or annoyances from anything dangerous or offensive or unwholesome and to

cause all nuisances to be abated and assess the cost of abating the same against the person

creating or maintaining the same.”).

        3.        Plaintiff has standing to bring claims under the federal RICO statute. 18 U.S.C.A.

§ 1961(3) (“person” includes municipal corporations); 18 U.S.C.A. § 1964 (“persons” have

standing).

        B. Defendants, Wholesale Distributors.

        4.        Defendant, AMERISOURCEBERGEN DRUG CORPORATION, is registered

with the Alabama Secretary of State as a Delaware corporation which may be served through its

registered agent for service of process, CT Corporation System, 2 North Jackson Street, Suite

605, Montgomery, Alabama 36104.            AMERISOURCEBERGEN DRUG CORPORATION’s

principal        place   of    business     is    located    in    Chesterbrook,      Pennsylvania.

AMERISOURCEBERGEN DRUG CORPORATION operates distribution centers in Alabama,

including in Pelham, Alabama.

        5.        Defendant, CARDINAL HEALTH, INC. is an Ohio corporation with its principal

office located in Dublin, Ohio. CARDINAL HEALTH, INC., operates distribution centers in

Alabama, including in Birmingham, Alabama.

        6.        Defendant, McKESSON CORPORATION, is registered with the Alabama

Secretary of State as a Delaware corporation which may be served through its registered agent




                                                  3
            Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 4 of 65



for service of process, Corporation Service Company, 641 South Lawrence Street, Montgomery,

Alabama 36104. McKESSON CORPORATION has its principal place of business located in

San Francisco, California. McKesson operates distribution centers in Alabama, including in

McCalla, Alabama.

       7.       Defendants, collectively referred to herein sometimes as “Defendant Wholesale

Distributors” or “Defendants,” are in the chain of distribution of prescription opioids, namely

hydrocodone and oxycodone. Alabama is in the midst of a public health crisis stemming from the

flood of opioids pouring into, inter alia, Birmingham.

       8.       In 1970, Congress devised a “closed” chain of distribution specifically designed

to prevent the diversion of legally produced controlled substances into the illicit market.

Gonzales v. Raich, 545 U.S. 1, 12–14 (2005); 21 U.S.C. § 801(2); 21 U.S.C. §§ 821-824, 827,

880; H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970). This closed-

system imposes specific duties upon wholesale distributors to monitor, identify, halt and report

“suspicious orders” of controlled substances. 21 C.F.R. § 1301.74; Masters Pharm., Inc. v. Drug

Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017).

       9.       As discussed infra, it has become abundantly clear that the Defendant Wholesale

Distributors universally failed to comply with federal law. Plaintiff alleges the unlawful conduct

by the Defendant Wholesale Distributors is responsible for the volume of prescription opioids

plaguing our community.

       10.      However, the data which reveals the identity of each wrongdoer is hidden from

public view in the DEA’s confidential ARCOS database. Madel v. USDOJ, 784 F.3d 448 (8th




                                                4
          Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 5 of 65



Cir. 2015).   Neither the DEA1 nor the Defendant Wholesale Distributors2 will voluntarily

disclose the data necessary to identify with specificity the transactions which will form the

evidentiary basis for the claims asserted herein.

Consequently, Plaintiff has named three (3) wholesale distributors which dominate 85% of the

market share for the distribution of prescription opioids.       The “Big 3” are Fortune 500

corporations listed on the New York Stock Exchange whose principal business is the nationwide

wholesale distribution of prescription drugs. Fed. Trade Comm'n v. Cardinal Health, Inc., 12 F.

Supp. 2d 34, 37 (D.D.C. 1998). Each has been investigated and/or fined by the DEA for the

failure to report suspicious orders. Plaintiff has reason to believe each has engaged in unlawful

conduct which resulted in the diversion of prescription opioids into our community and that

discovery will likely reveal others who likewise engaged in unlawful conduct. Plaintiff names

each of the “Big 3” herein as defendants and places the industry on notice that the citizens of

Birmingham are taking action to abate the public nuisance plaguing our community. Plaintiff, in

good faith, relies upon the civil justice system and federal subpoena power to discover the origin

and the volume of the prescription opioids unlawfully sold into our community and will request

expedited discovery pursuant to Rule 26(d) of the Federal Rules of Civil Procedure to secure the

1
        See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy
Act Unit (“SARF”), FOI, Records Management Section (“SAR”), Drug Enforcement
Administration (DEA), United States Department of Justice (DOJ), Madel v. USDOJ, Case 0:13-
cv-02832-PAM-FLN, (Document 23) (filed 02/06/14), attached hereto as Exhibit 1 (noting that
ARCOS data is “kept confidential by the DEA” and the “release of the information would result
in substantial competitive harm to [Cardinal Health, AmerisourceBergen and McKesson Corp.].”
2
        See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ,
Case 0:13-cv-02832-PAM-FLN, (Document 93) (filed 11/02/16), attached hereto as Exhibit 2
(“Cardinal Health does not customarily release any of the information identified by the DEA
notice letter to the public, nor is the information publicly available. Cardinal Health relies on
DEA to protect its confidential business information reported to the Agency.”)




                                                    5
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 6 of 65



data which will sustain our burden of proof. Plaintiff is cognizant of the heightened plausibility

pleading standard set forth in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007) and will diligently amend these pleadings as the facts become

transparent and public.

                             III. JURISDICTION AND VENUE

       11.     This Court has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a), because the Plaintiff is a “citizen” of the State of Alabama and the named Defendants

are citizens of different states, and the amount in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs. This Court also has subject matter jurisdiction over this

action pursuant to 28 U.S.C.A. § 1331 because Plaintiff’s claims hinging on 21 U.S.C.A. § 823

and 21 CFR 1301.74 necessarily raise a federal issue which is actually disputed, substantial, and

capable of resolution in federal court without disrupting the federal-state balance approved by

Congress. See Gunn v. Minton, 133 S. Ct. 1059, 1065 (2013). This Court further has subject

matter jurisdiction pursuant 28 U.S.C.A § 1331 because Plaintiff’s RICO claims also raise a

federal question. This Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C.A. § 1367 because those claims are so related to Plaintiff’s federal claims

that they form part of the same case or controversy.

       12.     This Court has personal jurisdiction over Defendants because they conduct

business in Alabama, purposefully direct or directed their actions toward Alabama, consented to

be sued in Alabama by registering an agent for service of process, consensually submitted to the

jurisdiction of Alabama when obtaining a distributor license, and have the requisite minimum

contacts with Alabama necessary to constitutionally permit the Court to exercise jurisdiction.




                                                6
          Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 7 of 65



       13.     Venue is further proper in this District pursuant to 28 U.S.C.A. § 1391 and 18

U.S.C.A. §1965 because a substantial part of the events or omissions giving rise to the claim

occurred in this District and each Defendant transacted affairs and conducted activity that gave

rise to the claim of relief in this District. 28 U.S.C.A. §§ 1391(b); §1965(a).

                                IV. FACTUAL BACKGROUND

       14.     Opioid analgesics hydrocodone and oxycodone are widely diverted and

improperly used, and the widespread use of these drugs has resulted in a national epidemic of

opioid overdose deaths and addictions.3 The epidemic is “directly related to the increasingly

widespread misuse of powerful opioid pain medications.”4

       15.     Defendant Wholesale Distributors owe a duty under both federal law (21

U.S.C.A. § 823, 21 CFR 1301.74) and Alabama law (e.g., ALA. CODE § 20-2-52, ALA. ADMIN.

CODE §§ 680-X-3-.05), to monitor, detect, investigate, refuse to fill, and report suspicious orders

of prescription opioids originating from the City of Birmingham, Alabama as well as those

orders which Defendants knew or should have known were likely to be diverted into the City of

Birmingham, Alabama.

       16.     The foreseeable harm from a breach of this duty is the diversion of prescription

opioids for nonmedical purposes.

       17.     Each Defendant Wholesale Distributor repeatedly and purposefully breached its

duties under state and federal law, which is a direct and proximate cause of the widespread

diversion of prescription opioids for nonmedical purposes into Birmingham, Alabama.




3
  See Nora D. Volkow, M.D., and A. Thomas McLellan, Ph.D., Opioid Abuse in Chronic Pain –
Misconceptions and Mitigation Strategies, NEW ENG. J. MED., 374;1253-63 (March 31, 2016).
4
   Special Report, FDA Commissioner Robert M. Califf, M.D., A Proactive Response to
Prescription Opioid Abuse, NEW ENGL. J. MED., 374;1480-85 (April 14, 2016).


                                                  7
          Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 8 of 65



        18.     The unlawful diversion of prescription opioids is a direct and proximate cause of

the opioid epidemic, prescription opioid abuse, addiction, morbidity and mortality in the State of

Alabama and Birmingham. This diversion and the epidemic are direct causes of harms incurred

by the City itself.

        19.     The opioid epidemic in Alabama, including inter alia in Birmingham, remains an

immediate hazard to public health and safety.

        20.     The opioid epidemic in Birmingham, Alabama, is a temporary and continuous

public nuisance and remains unabated.

        21.     Plaintiff brings this civil action against the Defendant Wholesale Distributors

seeking damages necessary to recoup the costs incurred by the City as a result of the nuisance,

damages necessary to eliminate the hazard to public health and safety as well as abatement of

the public nuisance, including both injunctive relief and an abatement fund.

        22.     Plaintiff further brings this action to recover damages incurred as a result of

Defendants’ RICO enterprise and Defendants’ negligence.

        A. Defendants Have Affirmative Duties to Maintain Effective Controls against
           Diversion of these Dangerous Drugs for Non-Legitimate, Non-Medical Purposes.

        23.     Defendant Wholesale Distributors are “one of the key components of the

distribution chain. If the closed system is to function properly … distributors must be vigilant in

deciding whether a prospective customer can be trusted to deliver controlled substances only for

lawful purposes. This responsibility is critical, as … the illegal distribution of controlled

substances has a substantial and detrimental effect on the health and general welfare of the

American people.”5


5
  See U.S. Department of Justice, Drug Enforcement Administration, letter to Cardinal Health
dated September 27, 2006 (“This letter is being sent to every commercial entity in the United
States registered with the Drug Enforcement Agency (DEA) to distribute controlled substances.


                                                8
           Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 9 of 65



               1. Under both federal law and Alabama State law and regulations,
                  Defendants are required to operate a closed system to prevent the
                  diversion of opioids for non-medical purposes.

       24.     Opioids are a controlled substance and are categorized as having a “high potential

for abuse” under Alabama law. See ALA. CODE §20-2-24(1)(a). These “Schedule II” drugs are

controlled substances with a “high potential for abuse,” 21 U.S.C.A. §§ 812(b), 812(2)(A)-(C).

       25.     Each Defendant has an affirmative duty under federal and Alabama law to act as a

gatekeeper guarding against the diversion of the highly addictive, dangerous opioid drugs.

Federal law requires that Distributors of Schedule II drugs, including opioids, must maintain

“effective control against diversion of particular controlled substances into other than legitimate

medical, scientific, and industrial channels.” 21 U.S.C.A. §§ 823(b)(1). Alabama incorporates

these requirements through Alabama’s Pharmacy Board Regulations, which predicates

registration upon inter alia “[m]aintenance of effective controls against diversion of controlled

substances into other than legitimate medical, scientific, or industrial channels” and “[p]ast

experience in the manufacture or distribution of controlled substances and the existence in the

applicant’s establishment of effective controls against diversion”. ALA. CODE § 20-2-52(a)(1)

and (4).

       26.     Wholesale drug distributors must operate in compliance with applicable federal,

state, and local laws and regulations. See, ALA. CODE §20-2-52, 20-2-56 and § 20-2-57.

       27.     The Alabama State Board of Pharmacy requires that drug wholesalers “shall

submit to the Alabama State Board of Pharmacy legible copies of records and reports required by

the Drug Enforcement Administration concerning increases in purchases or high or unusual


The purpose of this letter is to reiterate the responsibilities of controlled substance distributors in
view of the prescription drug abuse problem our nation currently faces.”) (a copy of letter is filed
at Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW, Doc. 14-51 (filed therein in U.S.
D.C. on February 20, 2012)).


                                                  9
          Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 10 of 65



volumes purchased by pharmacies within 30 days.” ALA ADMIN. CODE § 680-X-3-.05; see also,

ALA ADMIN. CODE § 680-X-2-.23(2)(e)(5) (“Copies of records and reports required by the Drug

Enforcement Administration concerning increases in purchases or high or unusual volumes

purchased by pharmacies, shall be forwarded to the Board of Pharmacy.”).

        28.    Federal regulations, incorporated by Alabama law (ALA. ADMIN. CODE § 680-X-

2-.23(2)(k)(3)), similarly impose a non-delegable duty upon wholesale drug distributors to

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor] shall inform the Field Division Office of the

Administration in his area of suspicious orders when discovered by the registrant. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b).

        29.    In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.

36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug

Enforcement Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged

orders must be reported. Id.

        30.    These prescription drugs are regulated for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate

channels into the illicit market, while at the same time providing the legitimate drug industry

with a unified approach to narcotic and dangerous drug control.6



6
    See 1970 U.S.C.C.A.N. 4566, 4571-72.


                                                10
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 11 of 65



       31.     As wholesale drug distributors, each Defendant was required under Alabama law

to “obtain annually a registration from the Alabama State Board of Pharmacy, on forms provided

by the Alabama State Board of Pharmacy, unless exempted by law.” ALA. ADMIN. CODE § 680-

X-3-.01. Each of the Defendant Wholesale Distributors is licensed by the Alabama Board of

Pharmacy and is a “registrant” as a wholesale distributor in the chain of distribution of Schedule

II controlled substances and assumed a duty to comply with all security requirements imposed

under the regulations adopted by the Alabama State Board of Pharmacy.

       32.     Each Defendant was further required to register with the DEA, pursuant to the

federal Controlled Substance Act. See 21 U.S.C.A. § 823(b), (e); 28 C.F.R. § 0.100. Each of the

Defendant Wholesale Distributors is a “registrant” as a wholesale distributor in the chain of

distribution of Schedule II controlled substances with a duty to comply with all security

requirements imposed under that statutory scheme. Those requirements are adopted and

incorporated into Alabama law. See, ALA. CODE § 20-2-52(a)(1) and (4); see also, ALA ADMIN.

CODE § 680-X-3-.05.

               2. Defendants were at all relevant times on notice of their duties vis-à-vis
                  suspicious opioid orders.

       33.     “Suspicious orders” include orders of an unusual size, orders of unusual

frequency or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b); ALA.

ADMIN. CODE §680-X-3-.05(2). These criteria are disjunctive and are not all inclusive. For

example, if an order deviates substantially from a normal pattern, the size of the order does not

matter and the order should be reported as suspicious. Likewise, a wholesale distributor need not

wait for a normal pattern to develop over time before determining whether a particular order is

suspicious. The size of an order alone, regardless of whether it deviates from a normal pattern, is

enough to trigger the wholesale distributor’s responsibility to report the order as suspicious. The



                                                11
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 12 of 65



determination of whether an order is suspicious depends not only on the ordering patterns of the

particular customer but also on the patterns of the entirety of the wholesale distributor’s customer

base and the patterns throughout the relevant segment of the wholesale distributor industry.

       34.     Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations carefully define each participant's role and

responsibilities. See Brief for Healthcare Distribution Management Association7 (HDMA) and

National Association of Chain Drug Stores8 (NACDS) as Amici Curiae in Support of Neither

Party, Masters Pharmaceuticals, Inc. v. U.S. Drug Enforcement Admin., 2016 WL 1321983, *22

(April 4, 2016, filed in D.C. Cir.) (hereinafter “Brief for HDMA and NACDS”).

       35.     The Defendant Wholesale Distributors have admitted that they are responsible for

reporting suspicious orders.9

       36.     The DEA sent a letter to each of the Defendant Wholesale Distributors on

September 27, 2006, warning that it would use its authority to revoke and suspend registrations

when appropriate. The letter expressly states that a distributor, in addition to reporting

suspicious orders, has a “statutory responsibility to exercise due diligence to avoid filling

suspicious orders that might be diverted into other than legitimate medical, scientific, and




7
  The Healthcare Distribution Management Association (HDMA or HMA) is a national, not-for-
profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal
Health, Inc., and McKesson Corporation.
8
  The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade
association that represents traditional drug stores and supermarkets and mass merchants with
pharmacies whose membership includes, among others: Walgreen Company, CVS Health, Rite
Aid Corporation and Walmart.
9
   See Brief for HDMA and NACDS, 2016 WL 1321983, *4, Masters Pharmaceuticals, Inc. v.
U.S. Drug Enforcement Admin. (regulations “in place for more than 40 years require distributors
to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).


                                                12
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 13 of 65



industrial channels.”10 The letter also instructs that “distributors must be vigilant in deciding

whether a prospective customer can be trusted to deliver controlled substances only for lawful

purposes.”11 The DEA warns that “even just one distributor that uses its DEA registration to

facilitate diversion can cause enormous harm.”12

       37.     The DEA sent a second letter to each of the Defendant Wholesale Distributors on

December 27, 2007.13 This letter reminds the Defendant Wholesale Distributors of their statutory

and regulatory duties to “maintain effective controls against diversion” and “design and operate a

system to disclose to the registrant suspicious orders of controlled substances.”14 The letter

further explains:

              The regulation also requires that the registrant inform the local DEA
       Division Office of suspicious orders when discovered by the registrant. Filing a
       monthly report of completed transactions (e.g., “excessive purchase report” or
       “high unity purchases”) does not meet the regulatory requirement to report
       suspicious orders. Registrants are reminded that their responsibility does not end
       merely with the filing of a suspicious order report. Registrants must conduct an
       independent analysis of suspicious orders prior to completing a sale to determine
       whether the controlled substances are likely to be diverted from legitimate
       channels. Reporting an order as suspicious will not absolve the registrant of
       responsibility if the registrant knew, or should have known, that the controlled
       substances were being diverted.
               The regulation specifically states that suspicious orders include orders of
       unusual size, orders deviating substantially from a normal pattern, and orders of
       an unusual frequency. These criteria are disjunctive and are not all inclusive. For
       example, if an order deviates substantially from a normal pattern, the size of the
       order does not matter and the order should be reported as suspicious. Likewise, a
       registrant need not wait for a “normal pattern” to develop over time before

10
     Letter from Joseph T. Rannazzisi, Deputy Assis. Admin., Office of Diversion Control, to
Cardinal Health (Sept. 27, 2006), at page 2 (discussing 21 U.S.C. § 823(e)) (a copy of letter is
filed at Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW, Doc. 14-51 (filed in U.S.
D.C. on February 20, 2012)).
11
    Id., at page 1.
12
    Id., at page 2.
13
    See Letter from Joseph T. Rannazzisi, Deputy Assis. Admin., Office of Diversion Control, to
Cardinal Health (Dec. 27, 2007) (a copy of letter is filed at Cardinal Health, Inc. v. Holder, No.
1:12-cv-00185-RBW, Doc. 14-8 (filed in U.S. D.C. on February 20, 2012)).
14
    Id.


                                               13
            Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 14 of 65



           determining whether a particular order is suspicious. The size of an order alone,
           whether or not it deviates from a normal pattern, is enough to trigger the
           registrant’s responsibility to report the order as suspicious. The determination of
           whether an order is suspicious depends not only on the ordering patterns of the
           particular customer, but also on the patterns of the registrant’s customer base and
           the patterns throughout the segment of the regulated industry.
                   Registrants that rely on rigid formulas to define whether an order is
           suspicious may be failing to detect suspicious orders. For example, a system that
           identifies orders as suspicious only if the total amount of a controlled substance
           ordered during one month exceeds the amount ordered the previous month by a
           certain percentage or more is insufficient. This system fails to identify orders
           placed by a pharmacy if the pharmacy placed unusually large orders from the
           beginning of its relationship with the distributor. Also, this system would not
           identify orders as suspicious if the order were solely for one highly abused
           controlled substance if the orders never grew substantially. Nevertheless,
           ordering one highly abused controlled substance and little or nothing else deviates
           from the normal pattern of what pharmacies generally order.
                   When reporting an order as suspicious, registrants must be clear in their
           communication with DEA that the registrant is actually characterizing an order as
           suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
           “excessive purchases” do not comply with the requirement to report suspicious
           orders, even if the registrant calls such reports “suspicious order reports.”
                   Lastly, registrants that routinely report suspicious orders, yet fill these
           orders without first determining that order is not being diverted into other than
           legitimate medical, scientific, and industrial channels, may be failing to maintain
           effective controls against diversion. Failure to maintain effective controls against
           diversion is inconsistent with the public interest as that term is used in 21 USC
           823 and 824, and may result in the revocation of the registrant’s DEA Certificate
           of Registration.15

Finally, the DEA letter references the final order issued in Southwood Pharmaceuticals, Inc., 72

FR 36487 (2007) [2007 WL 1886484], which discusses the obligation to report suspicious orders

and “some criteria to use when determining whether an order is suspicious.”16

           38.    Defendant Wholesale Distributors “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake

such efforts as responsible members of society.”17


15
     Id.
16
     Id.


                                                   14
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 15 of 65



        39.     Defendant Wholesale Distributors knew they were required to monitor, detect,

report, and refuse to fill suspicious orders. Industry compliance guidelines established by the

Healthcare Distribution Management Association, the trade association of pharmaceutical

distributors, explain that distributors are “[a]t the center of a sophisticated supply chain” and

therefore “are uniquely situated to perform due diligence in order to help support the security of

the controlled substances they deliver to their customers.”            The guidelines set forth

recommended steps in the “due diligence” process, and note in particular: If an order meets or

exceeds a distributor’s threshold, as defined in the distributor’s monitoring system, or is

otherwise characterized by the distributor as an order of interest, the distributor should not ship

to the customer, in fulfillment of that order, any units of the specific drug code product as to

which the order met or exceeded a threshold or as to which the order was otherwise characterized

as an order of interest.

                3. At all relevant times, each Defendant was acting under a duty to guard
                   against the diversion of prescription opioids for non-medical purposes.

        40.     Each of the Defendant Wholesale Distributors sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Birmingham, Alabama and/or to retailers from

which Defendants knew drugs were likely to be delivered and/or diverted into Birmingham.

        41.     Defendant Wholesale Distributors owe a duty to maintain effective controls to

prevent diversion in Birmingham, including a duty to monitor, detect, report, and refuse to fill

suspicious orders of prescription opioids originating from Birmingham, Alabama and/or orders

of prescription opioids which Defendants knew or should have known were likely to be delivered

and/or diverted into Birmingham.

17
   See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of
Appellant Cardinal Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, 2012 WL
1637016, *2 (C.A. D.C.) (May 9, 2012).


                                                15
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 16 of 65



       42.     Defendant Wholesale Distributors owe a duty to detect suspicious orders of

prescription opioids originating from Birmingham, Alabama and/or orders of prescription

opioids which Defendants knew or should have known were likely to be delivered and/or

diverted into Birmingham.

       43.     Defendant Wholesale Distributors owe a duty to investigate suspicious orders of

prescription opioids originating from Birmingham, Alabama and/or orders of prescription

opioids which Defendants knew or should have known were likely to be delivered and/or

diverted into Birmingham. See Masters Pharmaceuticals, Inc.; Decision and Order, 80 FR

55418-01, 55477 (September 15, 2015).

       44.     Defendant Wholesale Distributors owe a duty to refuse suspicious orders of

prescription opioids originating from Birmingham, Alabama and/or orders of prescription

opioids which Defendants knew or should have known were likely to be delivered and/or

diverted into Birmingham.

       45.     Defendant Wholesale Distributors owe a duty to report suspicious orders of

prescription opioids originating from Birmingham, Alabama and/or orders of prescription

opioids which Defendants knew or should have known were likely to be delivered and/or

diverted into Birmingham.

       46.     Defendant Wholesale Distributors owe a duty to maintain effective controls

against the diversion of prescription opioids into illicit markets in Birmingham, Alabama.

       47.     The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes.




                                                16
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 17 of 65



       48.      The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Birmingham, Alabama, and

the damages caused thereby.

       B. Deliberately, Knowingly, and for Profit, Defendants Breached Their Duties.

             1. Defendant Wholesale Distributors’ Compliance with their legal duties is
                critical, particularly considering the sharp increase in, and large numbers of,
                opioid prescriptions.

       49.      Because distributors handle such large volumes of controlled substances, and are

the first major line of defense in the movement of legal pharmaceutical controlled substances

from legitimate channels into the illicit market, it is incumbent on distributors to maintain

effective controls to prevent diversion of controlled substances. Should a distributor deviate from

these checks and balances, the closed system collapses.18

       50.      The United States consumes opioid pain relievers at a greater rate than any other

nation. Alabama has an opioid prescription rate of 142.9 per 100 persons, the highest in the

country (U.S. median rate: 82.5), and a benzodiazepine prescription rate of 61.9 per 100 persons

which ranks second nationally (U.S. median rate: 37.6).19 According to a recent study by Blue

Cross and Blue Shield (BCBS) more than twenty-six percent (26%) of its Alabama

commercially-insured members filled at least one opioid prescription in 2015.20


18
    See Declaration of Joseph Rannazzisi, Deputy Assistant Administrator, Office of Diversion
Control, Drug Enforcement Agency, United States Department of Justice, ¶10, Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW, Doc. 14-2 (filed in U.S. D.C. on February 20, 2012).
19
   See Leonard J. Paulozzi, M.D., et al., Vital Signs: Variation Among States in Prescribing of
Opioid Pain Relievers and Benzodiazepines – United States, 2012, Morbidity and Mortality
Weekly Report, Centers for Disease Control and Prevention, U.S. Department of Health and
Human Services (July 4, 2014).
        The combination of hydrocodone, oxycodone, and benzodiazepines is referred to as the
“holy trinity” and significantly increases the risk of harm to those that abuse prescription pills.
20
   America's Opioid Epidemic and Its Effect on the Nation's Commercially Insured Population,
June 29, 2017, ), available at https://www.bcbs.com/sites/default/files/file-attachments/health-of-
america-report/BCBS-HealthOfAmericaReport-Opioids.pdf, last visited August 1, 2017.


                                                17
          Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 18 of 65



         51.   The sheer volume of prescription opioids distributed to pharmacies in

Birmingham, Alabama is excessive for the medical need of the community and facially

suspicious. Some red flags are so obvious that no one who engages in the legitimate distribution

of controlled substances can reasonably claim ignorance of them. Masters Pharmaceuticals, Inc.;

Decision and Order, 80 FR 55418-01, 55482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,

d/b/a/CVS/Pharmacy Nos. 219 and 5195, 77 FR 62,316, 62,322 (2012)); Masters

Pharmaceutical, Inc. v. Drug Enforcement Administration, No. 15-11355 (D.C. Cir. June 30,

2017).

         2. Defendants breached their duties.

         52.   Plaintiff is of the information and belief that the Defendant Wholesale

Distributors failed to report to the DEA and/or the Alabama Board of Pharmacy “suspicious

orders” originating from Birmingham and/or orders of prescription opioids which Defendants

knew or should have known were likely to be delivered and/or diverted into Birmingham.

         53.   Plaintiff alleges that the Defendant Wholesale Distributors unlawfully filled

suspicious orders of unusual size, orders deviating substantially from a normal pattern and/or

orders of unusual frequency in Birmingham, Alabama and/or orders which Defendants knew or

should have known were likely to be delivered and/or diverted into Birmingham.

         54.   Alabama Code §§ 20-2-52, § 20-2-56, § 20-2-57, and Alabama Administrative

Code §§ 680-X-3.05, § 680-X-2-.23(k)(3), and laws incorporated therein, including federal

controlled substance laws, are public safety laws. Indeed, the Alabama Legislature has found that

“the diversion, abuse, and misuse of prescription medications classified as controlled substances

under the Alabama Uniform Controlled Substances Act constitutes a serious threat to the health

and welfare of the citizens of the State of Alabama.” ALA CODE § 20-2-210.




                                               18
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 19 of 65



       55.     Each Defendant Wholesale Distributor breached its duty to maintain effective

controls against diversion of prescription opioids into other than legitimate medical, scientific,

and industrial channels.

       56.     Each Defendant Wholesale Distributor breached its duty to design and operate a

system to disclose suspicious orders of controlled substances and failed to inform the DEA of

“suspicious orders for drugs when discovered” in violation of ALA. CODE §§ 20-2-52, § 20-2-56,

§ 20-2-57; Alabama Admin. Code § 680-X-3.05(2), § 680-X-2-.23(k)(3) and 21 CFR §

1301.74(b).

       57.     Each Defendant Wholesale Distributor breached its duty to provide effective

controls and procedures to guard against theft and diversion of controlled substances in violation

of federal law and Alabama law. See, e.g., 21 CFR § 1301.74(b); ALA. CODE §§ 20-2-56 and 57.

       58.     Defendant Wholesale Distributors’ violations of public safety statutes constitute

prima facie evidence of negligence under Alabama law.

       59.     Defendant Wholesale Distributors breached their duty to exercise due diligence to

avoid filling suspicious orders that might be diverted into other legitimate medical, scientific and

industrial channels. Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

       60.     Defendant Wholesale Distributors breached their duty to monitor, detect,

investigate, refuse to fill, and report suspicious orders of prescription opioids originating from

Birmingham, Alabama and/or which Defendants knew or should have known were likely to be

delivered and/or diverted into Birmingham.

       3. Defendants’ serial violations of the law.

       61.     As a result of the decade-long refusal by the Defendant Wholesale Distributors to

abide by federal law, the DEA has repeatedly taken administrative action to force compliance.




                                                19
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 20 of 65



The United States Department of Justice, Office of the Inspector General, Evaluation and

Inspections Division, reported that the DEA issued final decisions in 178 registrant actions

between 2008 and 2012. The Office of Administrative Law Judges issued a recommended

decision in a total of 117 registrant actions before the DEA issued its final decision, including 76

actions involving orders to show cause and 41 actions involving immediate suspension orders.21

These actions include the following:

               (a)    On April 24, 2007, the DEA issued an Order to Show Cause and
       Immediate Suspension Order against the AmerisourceBergen Orlando, Florida
       distribution center (“Orlando Facility”) alleging failure to maintain effective
       controls against diversion of controlled substances. On June 22, 2007,
       AmerisourceBergen entered into a settlement which resulted in the suspension of
       its DEA registration;

               (b)    On November 28, 2007, the DEA issued an Order to Show Cause
       and Immediate Suspension Order against the Cardinal Health Auburn,
       Washington Distribution Center (“Auburn Facility”) for failure to maintain
       effective controls against diversion of hydrocodone;

               (c)    On December 5, 2007, the DEA issued an Order to Show Cause
       and Immediate Suspension Order against the Cardinal Health Lakeland, Florida
       Distribution Center (“Lakeland Facility”) for failure to maintain effective controls
       against diversion of hydrocodone;

               (d)    On December 7, 2007, the DEA issued an Order to Show Cause
       and Immediate Suspension Order against the Cardinal Health Swedesboro, New
       Jersey Distribution Center (“Swedesboro Facility”) for failure to maintain
       effective controls against diversion of hydrocodone;

               (e)    On January 30, 2008, the DEA issued an Order to Show Cause and
       Immediate Suspension Order against the Cardinal Health Stafford, Texas
       Distribution Center (“Stafford Facility”) for failure to maintain effective controls
       against diversion of hydrocodone;

              (f)    On May 2, 2008, McKesson Corporation entered into an
       Administrative Memorandum of Agreement (“2008 MOA”) with the DEA which
       provided that McKesson would “maintain a compliance program designed to

21
    The Drug Enforcement Administration’s Adjudication of Registrant Actions, United States
Department of Justice, Office of the Inspector General, Evaluation and Inspections Divisions,
I-2014-003 (May 2014).


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         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 21 of 65



       detect and prevent the diversion of controlled substances, inform DEA of
       suspicious orders required by 21 CFR § 1301.74(b), and follow the procedures
       established by its Controlled Substance Monitoring Program”;

              (g)     On September 30, 2008, Cardinal Health entered into a Settlement
       and Release Agreement and Administrative Memorandum of Agreement with the
       DEA related to its Auburn Facility, Lakeland Facility, Swedesboro Facility and
       Stafford Facility. The document also referenced allegations by the DEA that
       Cardinal failed to maintain effective controls against the diversion of controlled
       substances at its distribution facilities located in McDonough, Georgia; Valencia,
       California; and Denver, Colorado;

              (h)    On February 2, 2012, the DEA issued an Order to Show Cause and
       Immediate Suspension Order against the Cardinal Health Lakeland, Florida
       Distribution Center for failure to maintain effective controls against diversion of
       oxycodone;

               (j)    On December 23, 2016, Cardinal Health agreed to pay a $44
       million fine to the DEA to resolve the civil penalty portion of the administrative
       action taken against its Lakeland, Florida Distribution Center; and

               (k)    On January 5, 2017, McKesson Corporation entered into an
       Administrative Memorandum Agreement with the DEA wherein it agreed to pay a
       $150,000,000 civil penalty for violation of the 2008 MOA as well as failure to
       identify and report suspicious orders at its facilities in Aurora CO, Aurora IL,
       Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI,
       Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and West
       Sacramento CA.

       62.     Rather, than abide by their non-delegable duties under public safety statutes, the

Defendant Wholesale Distributors, individually and collectively through trade groups in the

industry, pressured the U.S. Dept. of Justice to “halt” prosecutions and lobbied Congress to strip

the DEA of its ability to immediately suspend distributor registrations. The result was a “sharp

drop in enforcement actions” and the passage of the “Ensuring Patient Access and Effective

Drug Enforcement Act” which, ironically, raised the burden for the DEA to revoke a




                                               21
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 22 of 65



distributor’s license from “imminent harm” to “immediate harm” and provided the industry the

right to “cure” any violations of law before a suspension order can be issued.22

       63.     Meanwhile, the opioid epidemic rages unabated in Birmingham, Alabama.

       4. Defendants knowingly breached their mandatory duties.

       64.     The epidemic still rages because the fines and suspensions imposed by the DEA

do not change the conduct of the Defendant Wholesale Distributors. They pay fines as a cost of

doing business in an industry which generates billions of dollars in annual revenue. They hold

multiple DEA registration numbers and when one facility is suspended, they simply ship from

another facility. And, as bluntly noted by Cardinal Health in its filings in Cardinal Health, Inc.

v. Holder, 846 F. Supp. 2d 203 (D.D.C. 2012), “suspension … will not address the harm DEA

alleges because it will not prevent pharmacies filling illegitimate prescriptions from simply

obtaining controlled substances from another distributor.”23

       65.     The Defendant Wholesale Distributors’ repeated shipments of suspicious orders,

over an extended period of time, in violation of public safety statutes, and without reporting the

suspicious orders to the relevant authorities – including the DEA and the Alabama State Board of

Pharmacy - demonstrates wanton, willful, or reckless conduct or criminal indifference to civil

obligations affecting the rights of others and justifies an award of punitive damages.




22
    See Lenny Bernstein and Scott Higham, Investigation: The DEA slowed enforcement while
the opioid epidemic grew out of control, THE WASHINGTON POST (October 22, 2016); Lenny
Bernstein and Scott Higham, Investigation: U.S. senator calls for investigation of DEA
enforcement slowdown amid opioid crisis, THE WASHINGTON POST (March 6, 2017); Eric Eyre,
DEA agent: ‘We had no leadership’ in WV amid flood of pain pills, Charleston Gazette
(February 18, 2017).
23
   Memorandum of Points of Authorities in Support of Cardinal Health’s Motion for Temporary
Restraining Order (Doc. 3-1), at p. 22, Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW
(D.C. Cir. Feb. 3, 2012).


                                                22
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 23 of 65



       66.     The unlawful conduct by the Defendant Wholesale Distributors is purposeful and

intentional. Bluntly, they refuse to abide by the duties imposed by law which are required to

maintain an Alabama license to distribute prescription opioids and DEA registration. Defendants

acted with actual malice, i.e., Defendants acted with a conscious disregard for the rights and

safety of other persons, and said actions have a great probability of causing substantial harm.

       67.     Defendant Wholesale Distributors have publicly disavowed any duty beyond

reporting suspicious orders and, even then, have claimed they were not required to report all

suspicious orders. In Masters Pharmaceuticals, Inc. v. U.S. Drug Enforcement Admin., 2016 WL

1321983 (D.C. Cir. April 4, 2016), the Healthcare Distribution Management Association and

National Association of Chain Drug Stores submitted amicus briefs regarding the legal duty of

wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry has

been tragically recalcitrant in performing, they argued that:

               ■       The Associations complained that the “DEA has required
               distributors not only to report suspicious orders, but to investigate orders
               (e.g., by interrogating pharmacies and physicians) and take action to halt
               suspicious orders before they are filled.” (emphasis in original) (Brief for
               HDMA and NACDS, 2016 WL 1321983, at ** 4-5);

               ■       The Associations argued that, “DEA now appears to have changed
               its position to require that distributors not only report suspicious orders,
               but investigate and halt suspicious orders. Such a change in agency
               position must be accompanied by an acknowledgment of the change and a
               reasoned explanation for it. In other words, an agency must display
               awareness that it is changing position and show that there are good reasons
               for the new policy. This is especially important here, because imposing
               intrusive obligation on distributors threatens to disrupt patient access to
               needed prescription medications.” (internal citations & quotes omitted)
               (emphasis in original) (Id., at *8);

               ■       The Associations alleged (inaccurately) that nothing “requires
               distributors to investigate the legitimacy of orders, or to halt shipment of
               any orders deemed to be suspicious.” (Id., at *14);




                                                23
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 24 of 65



               ■       The Association complained that the purported “practical
               infeasibility of requiring distributors to investigate and halt suspicious
               orders (as well as report them) underscores the importance of ensuring that
               DEA has complied with the APA before attempting to impose such
               duties.” (Id., at *22);

               ■       The Associations alleged (inaccurately) that “DEA’s regulations []
               sensibly impose[] a duty on distributors simply to report suspicious
               orders, but left it to DEA and its agents to investigate and halt suspicious
               orders.” (emphasis in original) (Id., at **24-25); and,

               ■       Also inaccurately, the Associations argued that, “[i]mposing a duty
               on distributors - which lack the patient information and the necessary
               medical expertise – to investigate and halt orders may force distributors to
               take a shot-in-the-dark approach to complying with DEA’s demands.” (Id.,
               at *26).

       68.     The positions taken by the trade groups is emblematic of the position taken by the

Defendant Wholesale Distributors in a futile attempt to deny their legal obligations to prevent

diversion of the dangerous drugs.24

       69.     The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have a duty to report all suspicious

orders and also has duties beyond reporting. Masters Pharmaceutical, Inc. v. Drug Enforcement

Administration, No. 15-11355 (D.C. Cir. June 30, 2017). The Circuit Court upheld the revocation

of Masters Pharmaceutical’s license and determined that DEA regulations require that in addition

to reporting suspicious orders, distributors “must . . . decline to ship the order, or conduct some

‘due diligence’ and—if it is able to determine that the order is not likely to be diverted into

illegal channels—ship the order.” Id., Slip Op. at 5. Masters Pharmaceutical was in violation of

legal requirements not only because it failed to report suspicious orders, but also because it failed

to conduct necessary investigations and filled suspicious orders. Id. at 14-17, 24. Before a


24
    See Amicus Curiae Brief of HDMA, Cardinal Health, Inc. v. United States Dept. Justice,
2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know the rules of
the road” because they claim (inaccurately) that the “DEA has not adequately explained them.”).


                                                 24
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 25 of 65



distributor may ship a suspicious order, a distributor’s investigation must dispel all red flags

giving rise to suspicious circumstance. Id. at 24. The Circuit Court also rejected the argument

made by the Healthcare Distribution Management Association and National Association of

Chain Drug Stores (quoted above), that, allegedly, the DEA had created or imposed new duties.

Id. at 18-21.

       70.      Wholesale Distributor McKesson has specifically admitted to breaching its duties

to monitor, report, and prevent suspicious orders. Pursuant to an Administrative Memorandum

of Agreement (“2017 Agreement”) entered into between McKesson and the DEA in January

2017, McKesson admitted that, at various times during the period from January 1, 2009 through

the effective date of the Agreement (January 17, 2017) it “did not identify or report to [the] DEA

certain orders placed by certain pharmacies which should have been detected by McKesson as

suspicious based on the guidance contained in the DEA Letters about the requirements set forth

in 21 C.F.R. § 1301.74(b) and 21 U.S.C.A. § 842(a)(5).”25          Further, the 2017 Agreement

specifically finds that McKesson “distributed controlled substances to pharmacies even though

those McKesson Distribution Centers should have known that the pharmacists practicing within

those pharmacies had failed to fulfill their corresponding responsibility to ensure that controlled

substances were dispensed pursuant to prescriptions issued for legitimate medical purposes by

practitioners acting in the usual course of their professional practice, as required by 21 C.F.R §

1306.04(a).”26 McKesson admitted that, during this time period, it “failed to maintain effective

controls against diversion of particular controlled substances into other than legitimate medical,

scientific and industrial channels by sales to certain of its customers in violation of the CSA and

25
    See Administrative Memorandum of Agreement between the United States Department of
Justice, the Drug Enforcement Agency, and McKesson Corporation, effective date January 17,
2017.
26
   Id. at 4.


                                                25
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 26 of 65



the CSA's implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson Distribution

Centers.”27 Due to these violations, McKesson agreed that its authority to distribute controlled

substances from certain facilities would be partially suspended.28

       71.     The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA. 29 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do

so.30 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson's obligations under the 2008

Agreements, the Act, and 21 C.F.R. § 130l.74(b).”31 The 2017 Memorandum of Agreement and

the associated Settlement Agreement and Release revealed to the public that McKesson was not

complying with the 2008 Settlement Agreement. As a result of these violations, McKesson was

fined and required to pay to the United States $150,000,000.32




27
   Id.
28
   Id. at p.6.
29
   Id. at 4.
30
   Id.
31
   Id. at 4. See also Settlement Agreement and Release between the United State of America
(acting through the Department of Justice and on behalf of the Drug Enforcement
Administration) and McKesson Corporation, effective date January 17, 2017 (“2017 Settlement
Agreement and Release”) (“McKesson acknowledges that, at various times during the Covered
Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain
pharmacies, which should have been detected by McKesson as suspicious, in a manner fully
consistent with the requirements set forth in the 2008 MOA.”).
32
   See 2017 Settlement Agreement and Release at p. 6.


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         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 27 of 65



       C. The Opioid Plague in Birmingham, Alabama, Was Caused by, and Is the
          Proximate Result of, Defendants’ Breaches of Mandatory Duties to Maintain
          Effective Controls to Prevent the Diversion of Dangerous, Highly Addictive
          Opioids.

       72.     Defendant Wholesale Distributors’ failure to monitor, detect, investigate, refuse to

fill, and report suspicious orders is a direct and proximate cause of the diversion of millions of

doses of prescription opioids into the illicit market for purposes other than legitimate medical use

in Birmingham, Alabama.

       73.     The unlawful conduct by Defendant Wholesale Distributors caused the very harm

the federal and Alabama statutes and regulations were intended to prevent; namely, the diversion

of prescription opioids for illegitimate and/or nonmedical purposes.

       74.     The unlawful diversion of prescription opioids is a direct and proximate cause of

prescription opioid abuse, addiction, morbidity and mortality in Birmingham, Alabama.

       75.     The unlawful diversion of prescription opioids is a direct and proximate cause of

the prescription opioid epidemic currently plaguing Birmingham, Alabama.

       76.     The unlawful diversion of prescription opioids is a direct and proximate cause of

the heroin epidemic currently plaguing Birmingham, Alabama.

       77.     Opioid analgesics are widely diverted and improperly used, and the widespread

use of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.33

       78.     The epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”34




33
   See Nora D. Volkow, M.D., and A. Thomas McLellan, Ph.D., Opioid Abuse in Chronic Pain–
Misconceptions and Mitigation Strategies, NEW ENG. J. MED., 374;1253-63 (March 31, 2016).
34
   See Special Report, FDA Commissioner Robert M. Califf, M.D., et al., A Proactive Response
to Prescription Opioid Abuse, NEW ENGL. J. MED., 374;1480-85 (April 14, 2016).


                                                27
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 28 of 65



       79.     The increased use of prescription painkillers for reasons other than legitimate

medical use (for the high they cause), along with growing sales, has contributed to a large

number of overdoses and deaths.35

       80.     There is “a parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”36

       81.     The CDC has identified addiction to prescription pain medication as the strongest

risk factor for heroin addiction. People who are addicted to prescription opioids are forty times

more likely to be addicted to heroin.37

       82.     Heroin is pharmacologically similar to prescription opioids. The majority of

current heroin users report having used prescription opioids non-medically before they initiated

heroin use. Available data indicates that the nonmedical use of prescription opioids is a strong

risk factor for heroin use.38 The CDC reports that drug overdose deaths involving heroin

continued to climb sharply, with heroin overdoses more than tripling in 4 years. This increase

mirrors large increases in heroin use across the country and has been shown to be closely tied to

opioid pain reliever misuse and dependence. Past misuse of prescription opioids is the strongest

risk factor for heroin initiation and use, specifically among persons who report past-year

dependence or abuse.

        D. Defendants’ Misrepresentations and Fraudulent Intent.

35
   See Press Release, Prescription painkiller overdoses at epidemic levels, U.S. Department of
Health and Human Resources, Centers for Disease Control and Prevention (November 1, 2011).
36
   See Richard C. Dart, M.D., Ph.D., et al., Trends in Opioid Analgesic Abuse and Mortality in
the United States, NEW ENGL. J. MED., 372;241-248, 245 (January 15, 2015).
37
   See CDC Vital Signs Fact Sheet, Today’s Heroin Epidemic, U.S. Department of Health and
Human Resources, Centers for Disease Control and Prevention (July 2015).
38
   See Wilson M. Compton, M.D., M.P.E., et al., Relationship between Nonmedical Prescription
Opioid Use and Heroin Use, NEW ENG. J. MED., 374;154-63 (January 14, 2016).


                                               28
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 29 of 65



       83.     Defendants’ intent to violate the law and engage in an enterprise to drive up their

profits from and sales of diverted opioids is evident from: (1) Defendants’ repeated violations of

the law, including notices of violations and settlements; (2) Defendants’ failures to adequately

implement stated anti-diversion policies; (3) Defendants’ failures to adequately fund anti-

diversion efforts; and (4) Defendants’ continued and ongoing maintenance of a corporate

structure that rewards increases in opioid sales and encourages the distributors’

employees/agents to turn a blind eye to suspicious conduct.

       84.     To protect their registered distributor status with the Alabama Board of Pharmacy

and DEA, so that they can continue to generate profits, the Defendant Wholesale Distributors

undertook efforts to fraudulently assure the public that they were in fact complying with their

legal obligations. Through such statements, the Distributors attempted to assure the public they

are working to curb the opioid epidemic.

       85.     For example, a Cardinal Health executive claimed that it uses “advanced

analytics” to monitor its supply chain, and assured the public it was being “as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity.”39 Given the sales volumes and the company’s history of violations, this executive was

either not telling the truth, or Cardinal Health had such a system, but it ignored the results.

       86.     Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is




39
   Lenny Bernstein et al., How drugs intended for patients ended up in the hands of illegal users:
‘No one was doing their job’, Washington Post, October 22, 2016, available at
https://www.washingtonpost.com/investigations/how-drugs-intended-for-patients-ended-up-in-
the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-8ff7-
7b6c1998b7a0_story.html?utm_term=.744e85035bdc (last visited July 12, 2017).


                                                 29
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 30 of 65



“deeply passionate about curbing the opioid epidemic in our country.”40 Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

        87.      Moreover, through their participation in the Healthcare Distribution Management

Association (“HDMA”), the trade association of pharmaceutical distributors, the Distributors

admit that they are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely

situated to perform due diligence in order to help support the security of the controlled

substances they deliver to their customers.”41 The Distributors state the HDMA Guidelines

“were prepared in recognition of the growing problem of misuse and diversion of Controlled

Substances (CS) and the critical role of each member of the supply chain in helping to enhance

security.”42 Given Defendants’ ability to know where opioids are being sent and how order

volumes change year after year, they are well aware of their unique ability to identify suspicious

sales volumes and patterns, but nonetheless chose not to report suspicious orders or take any

actions to refuse to fill suspicious orders.

        E.       The City of Birmingham and the Public Welfare Have Been Damaged by
                 Defendants’ Participation in the Unlawful Diversion of Dangerous, Highly
                 Addictive Opioids.

              1. Opioid-related addiction and death has reached epidemic proportions.




40
   Scott Higham et al., Drug industry hired dozens of officials from the DEA as the agency tried
to curb opioid abuse, Washington Post, December 22, 2016, available at
https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-dea-to-
pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-
949c5893595e_story.html?utm_term=.68a58d17478e (last visited July 12, 2017).
41
    See Healthcare Distribution Management Association (HDMA) Industry Compliance
Guidelines: Reporting Suspicious Orders and Preventing Diversion of Controlled Substances
(dated in or around 2012) (“HDMA Guidelines”).
42
   Id.


                                                30
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 31 of 65



       88.      The number of annual opioid prescriptions written in the United States is now

roughly equal to the number of adults in the population.43

       89.      Many Americans are now addicted to prescription opioids, and the number of

deaths due to prescription opioid overdose is unacceptable. In 2014 there were almost 19,000

overdose deaths in the United States associated with prescription opioids.44

       90.      Barack Obama, then President of the United States, declared a prescription opioid

and heroin epidemic.45

       91.      Among 47,055 drug overdose deaths that occurred in 2014 in the United States,

28,647 (60.9%) involved an opioid.46

       92.      Fundamentally, prescription opioids and heroin are elements of a larger epidemic

of opioid-related disorders and death. Viewing them from a unified perspective is essential to

improving public health.47

             2. While the opioid epidemic is a national tragedy, the statistics are particularly
                tragic in Alabama and The City of Birmingham.

       93.      Alabama has been devastated by the opioid epidemic.

       94.      The overdose mortality rates in Alabama have increased sharply in recent years.

From 2013 to 2014 alone, Alabama saw a 20 percent increase in overdose fatalities.48 In 2014,

there were 723 Alabama overdose deaths, up from 598 Alabama overdose deaths in 2013.49



43
   See Robert M. Califf, M.D., et al., A Proactive Response to Prescription Opioid Abuse, NEW
ENGL. J. MED., 374;1480 (April 14, 2016).
44
   Id.
45
    See Barack Obama, President of the United States, Proclamation 9499, Prescription Opioid
and Heroin Epidemic Awareness Week, 2016, 81 FR 65173 (September 16, 2016).
46
   See Rose A. Rudd, MSPH, et al., Increases in Drug and Opioid-Involved Overdose Deaths —
United States, 2010–2015, Morbidity and Mortality Weekly Report (MMWR), Centers for
Disease Control and Prevention, 65(50-51);1445–1452 (December 30, 2016).
47
   See Wilson M. Compton, M.D., M.P.E., et al, Relationship between Nonmedical Prescription
Opioid Use and Heroin Use, NEW ENGL. J. MED., 374;154 (Jan. 14, 2016).


                                                31
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 32 of 65



       95.     Opioid addiction is now the primary reason that Alabamans seek substance abuse

treatment. Thus, the epidemic has placed increased budgetary costs upon the City.

       96.     The number of criminal possession charges for opioid drugs has increased. This

has placed increased budgetary costs upon the City’s law enforcement, emergency response

services and public safety costs.

       97.     Prescription opioid abuse, addiction, morbidity, and mortality are hazards to

public health and safety in Birmingham, Alabama.

       98.     Prescription opioid abuse, addiction, morbidity, and mortality are a temporary

public nuisance in Birmingham, Alabama, which remains unabated.

       99.     Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in Birmingham, Alabama.

       100.    Heroin abuse, addiction, morbidity, and mortality are a temporary public nuisance

in Birmingham, Alabama, which remains unabated.

       101.    To eliminate the hazard to public health and safety, and abate the public nuisance,

a “multifaceted, collaborative public health and law enforcement approach is urgently needed.”50

       102.    A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain.51


48
   Centers for Disease Control and Prevention, Drug Overdose Death Data at
https://www.cdc.gov/drugoverdose/data/statedeaths.html, last visited July 29, 2017.
49
    Id.
50
    See Rose A. Rudd, MSPH, et al, Increases in Drug and Opioid-Involved Overdose Deaths —
United States, 2010–2015, Morbidity and Mortality Weekly Report (MMWR), Centers for
Disease Control and Prevention, 65(50-51);1445–1452 (December 30, 2016).
51
     See Alexander GC, Frattaroli S, Gielen AC, eds. The Prescription Opioid Epidemic: An
Evidence-Based Approach, Johns Hopkins Bloomberg School of Public Health, Baltimore,
Maryland: 2015, available at http://www.jhsph.edu/research/centers-and-institutes/center-for-



                                               32
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 33 of 65



                   3. General declaration of damages applicable to all Counts herein.

       103.    The unlawful conduct by the Defendant Wholesale Distributors has created

hazards to public health and safety and a temporary public nuisance in Birmingham, Alabama,

which remains unabated.

       104.    The damages to Birmingham and its citizens include without limitation costs

sustained by the City for law enforcement, emergency response, and public safety services and

other expenses relating to the opioid epidemic.

       105.    Plaintiff seeks economic damages from the Defendant Wholesale Distributors as

reimbursement for the costs associated with past efforts to eliminate the hazards to public health

and safety.

       106.    Plaintiff seeks economic damages from the Defendant Wholesale Distributors to

pay for the damages incurred and the future costs required to permanently eliminate the hazards

to public health and safety and abate the temporary public nuisance.

       107.    Plaintiff seeks to hold the Defendant Wholesale Distributors financially

responsible for the economic costs of eliminating the hazards to public health and safety and

abating the temporary public nuisance caused by the unlawful conduct recited herein.

       108.    Plaintiff seeks non-economic damages from the Defendant Wholesale Distributors

as just compensation for annoyance, discomfort, and inconvenience caused by the temporary

public nuisance.

       109.    Plaintiff seeks punitive damages to deter the Defendant Wholesale Distributors

and others from committing like offenses in the future. Defendants acted with actual malice, i.e.,



drug-safety-and-effectiveness/opioid-epidemic-town-hall-2015/2015-prescription-opioid-
epidemic-report.pdf, last visited July 12, 2017.



                                                  33
           Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 34 of 65



Defendants acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

          F.      Tolling of the Statute of Limitations and Estoppel

          110.    Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendant Wholesale Distributors.

          111.    The continued tortious conduct by the Defendant Wholesale Distributors causes a

repeated or continuous injury. The damages have not occurred all at once but have increased as

time progresses. The tort is not completed nor have all the damages been incurred until the

wrongdoing ceases. The wrongdoing has not ceased. The public nuisance remains unabated.

          112.    Plaintiff’s claims are subject to both equitable estoppel, stemming from

Defendant Wholesale Distributors’ knowingly and fraudulently concealing the facts alleged

herein, and equitable tolling, stemming from Defendants’ wrongful concealment and from

Plaintiff’s inability to obtain vital information underlying its claims.

               a. Defendants Deliberately Concealed Their Misconduct and Misrepresented
                  their Compliance with their Legal Obligations.

          113.    Defendants are estopped from relying upon a statute of limitations defense

because the Distributors undertook efforts to purposefully conceal their unlawful conduct and

fraudulently assure the public that they were undertaking efforts to comply with their obligations

under the CSA. Separate and apart from Defendants’ acts of concealment, any applicable

statutes of limitation are properly tolled because Plaintiff did not know and could not have

learned the true facts underlying their claims until shortly before filing its Complaint.

          114.    Indeed, Defendant Wholesale Distributors are estopped by their own fraudulent

concealment from asserting the statute of limitations as an affirmative defense against Plaintiff’s

claims.




                                                  34
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 35 of 65



       115.    Defendants misrepresented their compliance with the law and prevented

discovery by the public and by the Plaintiff of their wrongful actions.

       116.    Notwithstanding the allegations set forth above, the Defendant Wholesale

Distributors affirmatively assured the public they are working to curb the opioid epidemic.

       117.    For example, a Cardinal Health executive claimed that it uses “advanced

analytics” to monitor its supply chain, and assured the public it was being “as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity.”52 Given the sales volumes and the company’s history of violations, this executive was

either lying, or Cardinal Health had such a system, but it ignored the results.

       118.    Similarly, McKesson publicly stated that it has a “best-in-class controlled

substance monitoring program to help identify suspicious orders,” and claimed it is “deeply

passionate about curbing the opioid epidemic in our country.”53 It was only in January 2017 that

the agreement accompanying the $150,000,000 fine against McKesson revealed that McKesson

was, yet again, violating its legal obligations to maintain effective controls against diversion,

including through monitoring, reporting and preventing distribution of suspicious orders.

       119.    Additionally, even though the Defendant Wholesale Distributors entered into

settlements and consent orders, outside of certain limited admissions made in those recently

publicized documents, Defendants have not admitted liability or any wrongdoing.             On the

52
   Lenny Bernstein et al., How drugs intended for patients ended up in the hands of illegal users:
‘No one was doing their job’, Washington Post, October 22, 2016, available at
https://www.washingtonpost.com/investigations/how-drugs-intended-for-patients-ended-up-in-
the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-8ff7-
7b6c1998b7a0_story.html?utm_term=.744e85035bdc (last visited June 16, 2017).
53
   Scott Higham et al., Drug industry hired dozens of officials from the DEA as the agency tried
to curb opioid abuse, Washington Post, December 22, 2016, available at
https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-dea-to-
pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-
949c5893595e_story.html?utm_term=.68a58d17478e (last visited June 16, 2017).


                                                 35
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 36 of 65



contrary, in connection with these settlements, the Defendant Wholesale Distributors have

repeatedly contended they were in compliance with the law.

       120.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Defendant Wholesale Distributors, through their trade associations,

Healthcare Distribution Management Association (HDMA) and National Association of Chain

Drug Stores (NACDS), filed an Amicus brief in Masters Pharmaceuticals, Inc. v. U.S. Drug

Enforcement Administration, Case No. 15-1335; 2016 WL 1321983 (D.C. Cir. Apr. 4, 2016),

which made the following statements:

              “HDMA and NACDS members not only have statutory and regulatory
               responsibilities to guard against diversion of controlled prescription drugs, but
               undertake such efforts as responsible members of society.”

              “DEA regulations that have been in place for more than 40 years require
               distributors to report suspicious orders of controlled substances to DEA based on
               information readily available to them (e.g., a pharmacy's placement of unusually
               frequent or large orders).”

              “Distributors take seriously their duty to report suspicious orders, utilizing both
               computer algorithms and human review to detect suspicious orders based on the
               generalized information that is available to them in the ordering process.”

              “A particular order or series of orders can raise red flags because of its unusual
               size, frequency, or departure from typical patterns with a given pharmacy.”

              “Distributors also monitor for and report abnormal behavior by pharmacies
               placing orders, such as refusing to provide business contact information or
               insisting on paying in cash.”

Through the above statements made on their behalf by their trade associations, the Defendant

Wholesale Distributors not only acknowledged that they understood their obligations under the

law, but they further affirmatively represented that their conduct was in compliance with those

obligations.




                                               36
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 37 of 65



       121.    In light of their statements to the media, in legal filings, and in settlements, it is

clear that Defendant Wholesale Distributors had actual or constructive knowledge that their

conduct was deceptive, in that they consciously concealed the schemes set forth herein.

       122.    The City has diligently sought to discover and prevent the causes of the opioid-

based public nuisance in Birmingham.

       123.    Defendants’ actions were affirmatively designed to prevent, and did prevent,

discovery of the City’s cause of action. Defendants’ actions constituted actual artifice to prevent

knowledge of the facts. Defendants committed affirmative acts of concealment and

misrepresentation to exclude suspicion and prevent inquiry.

       124.    Plaintiff reasonably relied on Defendants’ affirmative statements regarding their

purported compliance with their obligations under the law and consent orders.

       125.    The purposes of the statutes of limitations period are satisfied because Defendants

cannot claim prejudice due to a late filing where Plaintiff filed suit promptly upon discovering

the facts essential to its claims, described herein, which Defendants knowingly concealed.

       126.    Defendants continually and secretly engaged in their scheme to avoid compliance

with their reporting obligations. Only Defendants and their agents knew or could have known

about Defendants’ unlawful failure to report suspicious sales because Defendants made

deliberate efforts to conceal their conduct. As a result of the above, Plaintiff was unable to

obtain vital information bearing on its claims absent any fault or lack of diligence on its part.




                                                 37
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 38 of 65



                b.     Defendant Wholesale Distributors’ Conduct Is Exposed.

                On December 17, 2016, the Charleston Gazette-Mail published a groundbreaking,

       Pulitzer Prize-Winning story that put Plaintiff on inquiry notice of its potential claims.54

       127.     The journalist had been seeking drug shipping sales data since August 8, 2016,

when the Charleston Gazette-Mail Newspaper sought access to certain limited ARCOS data.

However, “[t]he wholesalers and their lawyers fought to keep the sales numbers secret in

previous court actions brought by the newspaper.”55 But, finally, “[t]he Gazette-Mail obtained

previously confidential drug shipping sales records, . . . [which] disclose the number of pills sold

to every pharmacy in the state.”56

       128.     With the data in its possession, on December 17, 2016, the Gazette-Mail

published its shocking analysis of the data.57 The Gazette-Mail made the following statements,

based on the limited West Virginia ARCOS data in its possession about the Defendants conduct

in West Virginia:

               “In six years, drug wholesalers showered the state with 780 million hydrocodone
                and oxycodone pills, while 1,728 West Virginians fatally overdosed on those two
                painkillers.”58

               “While the death toll climbed, drug wholesalers continued to ship massive
                quantities of pain pills.”

               The quantity of opioids delivered during this period “amount to 433 pain pills for
                every man, woman and child in West Virginia.”59

54
   Eric Eyre of Charleston Gazette-Mail, Charleston, WV, The 2017 Pulitzer Prize Winner in
Investigative Reporting, available at http://www.pulitzer.org/winners/eric-eyre (last visited July
3, 2017).
55
   Eric Eyre, Drug firms poured 780M painkillers into WV amid rise of overdoses, Charleston
Gazette-Mail, December 17, 2016, available at http://www.wvgazettemail.com/news-
health/20161217/drug-firms-poured-780m-painkillers-into-wv-amid-rise-of-overdoses             (last
visited July 3, 2017).
56
   Id.
57
   Id.
58
   Id.


                                                38
            Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 39 of 65




                 “The nation’s three largest prescription drug wholesalers — McKesson Corp.,
                  Cardinal Health and AmerisourceBergen Drug Co. — supplied more than half of
                  all pain pills statewide.”

                 “For more than a decade, the same distributors disregarded rules to report
                  suspicious orders for controlled substances in West Virginia to the state Board of
                  Pharmacy, the Gazette-Mail found.”

                 “Year after year, the drug companies also shipped pain pills in increasing
                  stronger formulations, DEA data shows.”


           129.   Not until the Charleston Gazette-Mail ran its December 17, 2016 story was

Plaintiff even arguably on inquiry notice of Defendants’ wrongdoing. Given the Defendant

Wholesale Distributors’ efforts to mislead the public and conceal its unlawful conduct, as alleged

above, Plaintiff did not have any reason to know of the Defendant Wholesale Distributors’

unlawful conduct or their role in creating the opioid nuisance.

           130.   Plaintiff was relieved of any duty to investigate because it reasonably and

justifiably relied on Defendants to fulfill their reporting requirements and comply with the law.

Plaintiff did not discover and could not have discovered, despite all due diligence, the schemes

alleged herein until the near simultaneous release of the December 2016 Gazette-Mail

publication and the January 2017 DOJ fines against McKesson. Even then, the conduct revealed

concerned only West Virginia counties (with regard to the Charleston Gazette-Mail publication)

or a single distributor (with regard to the DOJ fine against McKesson).

           131.   It was not until learning of the Gazette-Mail December 2016 story and the

January 2017 DOJ fine and accompanying agreement and release, which included revelations of

similar misconduct by Defendant McKesson in Ohio, that Plaintiff learned it might have claims

against the Defendant Wholesale Distributors. Plaintiff’s claims were thus equitably tolled until

59
     Id.


                                                 39
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 40 of 65



it discovered Defendants conduct underlying its claims shortly before the filing of the Complaint.

Defendants are further equitably estopped by their own actions, including their fraudulent

concealment, from asserted statute of limitations defenses to Plaintiff’s claims.

                                    V. CAUSES OF ACTION


                                           COUNT I
                                       PUBLIC NUISANCE


       132.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       133.    Under Alabama Law, a nuisance “is anything that works hurt, inconvenience, or

damage to another.” ALA. CODE § 6-5-120 (1975). “A public nuisance is one which damages all

persons who come within the sphere of its operation, though it may vary in its effects on

individuals.” ALA. CODE § 6-5-121 (1975).

       134.    Plaintiff has standing to pursue an action against Defendants for public nuisance

because “[a]ll municipalities in the State of Alabama may commence an action in the name of

the city to abate or enjoin any public nuisance injurious to the health, morals, comfort, or welfare

of the community or any portion thereof. ALA. CODE § 6-5-122 (1975).

       135.    The residents of The City of Birmingham have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, morals, comfort, welfare and

safety, and to be free from conduct that creates a disturbance and reasonable apprehension of

danger to person and property.

       136.    Defendants have created a continuing nuisance by intentionally, unlawfully,

negligently and/or recklessly distributing and selling prescription opioids that defendants know,

or reasonably should know, will be diverted, causing widespread distribution of prescription




                                                  40
           Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 41 of 65



opioids in and/or to the City of Birmingham illegally, resulting in addiction and abuse, an

elevated level of crime, death and injuries to Birmingham residents, a higher level of fear,

discomfort and inconvenience to the residents of Birmingham, and direct costs to Birmingham

itself.

          137.   Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the City and its residents.

          138.   Defendants have unlawfully and/or intentionally distributed opioids without

maintaining effective controls against diversion. Such conduct was illegal. Defendants’ failures

to maintain effective controls against diversion include Defendants’ failure to effectively monitor

for suspicious orders, report suspicious orders, and/or stop shipment of suspicious orders.

          139.   Defendants have caused a significant and unreasonable interference with the

public health, safety, welfare, peace, comfort and convenience, and ability to be free from

disturbance and reasonable apprehension of danger to person or property.

          140.   Defendants’ conduct in illegally distributing and selling prescription opioids

where defendants know, or reasonably should know, such opioids will be diverted and possessed

and/or used illegally in Birmingham is of a continuing nature.

          141.   Defendants’ actions have been of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.

          142.   A violation of any rule or law controlling the distribution of a drug of abuse in

Birmingham and the State of Alabama is a public nuisance.

          143.   Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.




                                                 41
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 42 of 65



       144.    Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Birmingham will

be diverted, leading to abuse, addiction, crime, and public health costs.

       145.    As a result of the continued use and addiction caused by these illegally distributed

opioids, the public will continue to fear for its health, safety and welfare, and will be subjected to

conduct that creates a disturbance and reasonable apprehension of danger to person and property.

       146.    Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       147.    Defendants know, or reasonably should know, that their conduct causes an

unreasonable invasion of the public right to health, safety and welfare and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       148.    Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Birmingham. Defendants are in the

business of distributing prescription drugs, including opioids, which are specifically known to

Defendants to be dangerous under federal law. See, e.g., 21 U.S.C.A. § 812 (b)(2).

       149.    Defendants’ conduct in marketing, distributing, and selling prescription opioids

which the defendants know, or reasonably should know, will likely be diverted for non-

legitimate, non-medical use, creates a strong likelihood that these illegal distributions of opioids

will cause death and injuries to Birmingham residents and otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be

free from disturbance and reasonable apprehension of danger to person and property.




                                                 42
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 43 of 65



       150.    It is, or should be, reasonably foreseeable to defendants that their conduct will

cause deaths and injuries to Birmingham residents, and will otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be

free from disturbance and reasonable apprehension of danger to person and property.

       151.    The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Birmingham not only causes deaths

and injuries, but also creates a palpable climate of fear among Birmingham residents where

opioid diversion, abuse, addiction are prevalent and where they tend to be used frequently.

       152.    Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       153.    Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ unique

position within the closed system of opioid distribution, without Defendants’ actions, opioid use

would not have become so widespread, and the enormous public health hazard of prescription

opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

       154.    The presence of diverted prescription opioids in Birmingham, and the

consequence of prescription opioids having been diverted in Birmingham, proximately results in

significant costs to the City in order to enforce the law, equip its police force and provide public

safety and emergency response services to its citizens and treat the victims of opioid abuse and

addiction.

       155.    Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Birmingham a safer place to live.




                                                 43
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 44 of 65



       156.    Defendants’ conduct is a direct and proximate cause of deaths and injuries to

Birmingham residents, costs borne by Birmingham, and a significant and unreasonable

interference with public health, safety and welfare, and with the public’s right to be free from

disturbance and reasonable apprehension of danger to person and property.

       157.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

to threaten the health, safety and welfare of the City’s residents, creating an atmosphere of fear

and addiction that tears at the residents’ sense of well-being and security. Birmingham has a

clearly ascertainable right to abate conduct that perpetuates this nuisance.

       158.    Defendants created a continuing nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated

plague of prescription opioid and heroin addiction. Defendants knew the dangers to public

health and safety that diversion of opioids would create in Birmingham, however, Defendants

intentionally acted recklessly, negligently carelessly, and/or unlawfully failed to maintain

effective controls against diversion through proper monitoring, reporting and refusal to fill

suspicious orders of opioids. Defendants intentionally and/or unlawfully distributed opioids

without reporting or refusing to fill suspicious orders or taking other measures to maintain

effective controls against diversion. Defendants intentionally and/or unlawfully continued to ship

and failed to halt suspicious orders of opioids. Such actions were inherently dangerous.

       159.    Defendants knew the prescription opioids have a high likelihood of being

diverted. It was foreseeable to Defendants that where Defendants distributed prescription opioids

without maintain effective controls against diversion, including monitoring, reporting, and

refusing shipment of suspicious orders, that the opioids would be diverted, and create an opioid

abuse nuisance in Birmingham.




                                                 44
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 45 of 65



       160.    Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       161.    The damages available to the Plaintiff include, inter alia, recoupment of

governmental costs, flowing from an ongoing and persistent public nuisance.          Defendants’

conduct is ongoing and persistent, and the Plaintiff seeks all damages flowing from Defendants’

conduct. Plaintiff further seeks to abate the nuisance and harm created by Defendants’ conduct.

       162.    As a direct result of Defendants’ conduct, the City has suffered actual injury and

damages including, but not limited to, significant expenses for police, emergency, health,

prosecution, corrections and other services. The City here seeks recovery for its own harm.

       163.    The City has sustained specific and special injuries because its damages include,

inter alia, public safety, emergency response, and law enforcement expenditures.

       164.    The City further seeks to abate the nuisance created by the Defendants’

unreasonable, unlawful, intentional, ongoing, continuing, and persistent interference with a right

common to the public.

       165.    The public nuisance created by Defendants’ actions is substantial and

unreasonable – it has caused and continues to cause significant harm to the community, and the

harm inflicted outweighs any offsetting benefit. The staggering rates of prescription opioid abuse

and heroin use resulting from Defendants’ abdication of their gate-keeping duties has caused

harm to the entire community that includes, but is not limited to:

       a. The high rates of use have led to unnecessary opioid abuse, addiction, overdose,

           injuries, and deaths.




                                                45
 Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 46 of 65



b. Nor have children escaped the opioid epidemic unscathed. Easy access to prescription

   opioids has made opioids a recreational drug of choice among Alabama teenagers;

   opioid use among teenagers is only outpaced by marijuana use. Even infants have

   been born addicted to opioids due to prenatal exposure, causing severe withdrawal

   symptoms and lasting developmental impacts.

c. Even those City residents who have never taken opioids have suffered from the public

   nuisance arising from Defendants’ abdication of their gate-keeper duties. Many have

   endured both the emotional and financial costs of caring for loved ones addicted to or

   injured by opioids, and the loss of companionship, wages, or other support from

   family members who have used, abused, become addicted to, overdosed on, or been

   killed by opioids.

d. The opioid epidemic has increased public health and safety costs.

e. Employers have lost the value of productive and healthy employees.

f. Defendants’ failure to maintain effective controls against diversion of dangerously

   addictive prescription opioids for non-medical use and abuses has created an

   abundance of drugs available for criminal use and fueled a new wave of addiction,

   abuse, and injury.

g. Defendants’ dereliction of duties resulted in a diverted supply of narcotics to sell, and

   the ensuing demand of addicts to buy them. Increased supply, due to Defendants’

   conduct, led to more addiction, with many addicts turning from prescription opioids

   to heroin. People addicted to opioids frequently require increasing levels of opioids,

   and many turned to heroin as a foreseeable result.




                                        46
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 47 of 65



       h. The diversion of opioids into the secondary, criminal market and the increase in the

           number of individuals who abuse or are addicted to opioids has increased the

           demands on public safety services, emergency response services, law enforcement

           and other services in the City.

       i. The significant unreasonable interference with the public rights caused by

           Defendants’ conduct has taxed the human, public health, law enforcement, and

           financial resources of Birmingham.

       j. Defendants’ interference with the comfortable enjoyment of life in Birmingham is

           unreasonable because there is little social utility to opioid diversion and abuse, and

           any potential value is outweighed by the gravity of the harm inflicted by Defendants’

           actions.

       166.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

abatement, compensatory damages, and punitive damages from the Defendant Wholesale

Distributors for the creation of a public nuisance, attorney fees and costs, and pre- and post-

judgment interest.

                                           COUNT II
                                    DRUG-RELATED NUISANCE
                                   ALABAMA CODE § 6-5-155, et seq.

       167.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows

       168.    A “Drug-Related Nuisance” is defined under Alabama law as “[t]he use, sale,

distribution, possession, storage, transportation, or manufacture of any controlled substances in

violation of the controlled substance acts, or similar act of the United States or any other state.”

ALA. CODE § 6-5-155.1




                                                  47
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 48 of 65



       169.    For purposes of the Drug-Related Nuisance statute, “controlled substance acts” as

defined as “[t]he provisions of Sections 20-2-1 et seq., known as the “Alabama Uniform

Controlled Substance Act,” and Sections 13A-12-201 et seq., known as “The Drug Predator

Control Act of 1987,” and Sections 13A-12-210 et seq., known as “The Drug Crimes

Amendments Act of 1987.” ALA. CODE § 6-5-155.1

       170.    Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by the Alabama Uniform Controlled Substance Act, the US

Controlled Substances Act and regulations promulgated by the Alabama State Board of

Pharmacy. See, e.g., 21 CFR § 1301.74(b); ALA. CODE §§ 20-2-56 and 57; ALA. ADMIN. Code

§680-X-3-.05. This distribution in violation of the controlled substance acts, or similar act of the

United States constitutes a Drug-Related Nuisance.

       171.    “Wherever there is reason to believe that a drug-related nuisance exists, … the

attorney for the county or municipality, … may file an action in the circuit courts of this state to

abate, enjoin, and prevent the drug-related nuisance.” ALA. CODE § 6-5-155.2

       172.    Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Birmingham will

be diverted, leading to abuse, addiction, crime, and public health and safety costs.

       173.    As a result of the Drug-Related Nuisance caused by Defendants, the City of

Birmingham has suffered numerous adverse impacts, including inter alia, an increase in the

number of ambulance and police calls related to the use of opioids and/or to violence stemming

from drug-related activity. In addition, the staggering rates of prescription opioid abuse and

heroin use resulting from Defendants’ abdication of their gate-keeping duties has caused harm to

the entire community that includes, but is not limited to:




                                                48
Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 49 of 65



 a. The high rates of use have led to unnecessary opioid abuse, addiction, overdose,

    injuries, and deaths.

 b. Nor have children escaped the opioid epidemic unscathed. Easy access to

    prescription opioids has made opioids a recreational drug of choice among

    Alabama teenagers; opioid use among teenagers is only outpaced by marijuana

    use. Even infants have been born addicted to opioids due to prenatal exposure,

    causing severe withdrawal symptoms and lasting developmental impacts.

 c. Even those City residents who have never taken opioids have suffered from the

    public nuisance arising from Defendants’ abdication of their gate-keeper duties.

    Many have endured both the emotional and financial costs of caring for loved

    ones addicted to or injured by opioids, and the loss of companionship, wages, or

    other support from family members who have used, abused, become addicted to,

    overdosed on, or been killed by opioids.

 d. The opioid epidemic has increased public health and safety costs.

 e. Employers have lost the value of productive and healthy employees.

 f. Defendants’ failure to maintain effective controls against diversion of

    dangerously addictive prescription opioids for non-medical use and abuses has

    created an abundance of drugs available for criminal use and fueled a new wave

    of addiction, abuse, and injury.

 g. Defendants’ dereliction of duties resulted in a diverted supply of narcotics to sell,

    and the ensuing demand of addicts to buy them. Increased supply, due to

    Defendants’ conduct, led to more addiction, with many addicts turning from




                                       49
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 50 of 65



               prescription opioids to heroin. People addicted to opioids frequently require

               increasing levels of opioids, and many turned to heroin as a foreseeable result.

           h. The diversion of opioids into the secondary, criminal market and the increase in

               the number of individuals who abuse or are addicted to opioids has increased the

               demands on public safety services and law enforcement in the City.

           i. The significant unreasonable interference with the public rights caused by

               Defendants’ conduct has taxed the human, public health, law enforcement, and

               financial resources of Birmingham.

           j. Defendants’ interference with the comfortable enjoyment of life in Birmingham is

               unreasonable because there is little social utility to opioid diversion and abuse,

               and any potential value is outweighed by the gravity of the harm inflicted by

               Defendants’ actions.

       174.    The notice provisions of ALA. CODE § 6-5-155.3 are inapplicable here, as the

drug-related nuisance is not confined to any single property, rather the drug-related nuisance is

situated throughout the City of Birmingham. Thus, the City of Birmingham is in the position of

notifying itself of the nuisance, the existence of which the City of Birmingham is keenly aware.

       175.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

abatement, compensatory damages, and punitive damages, from the Defendant Wholesale

Distributors for the creation of a drug-related nuisance, attorney fees and costs, and pre- and

post-judgment interest, as well as any and all civil remedies specifically enumerated in ALA.

CODE § 6-5-156.3.

       176.    In addition, Plaintiff requests, pursuant to ALA. CODE § 6-5-155.7, that the Court

order the maximum per day civil penalty for each day the nuisance exists.




                                                50
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 51 of 65




                            COUNT III
    RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT (RICO)
                       18 U.S.C.A. §§ 1961, et seq.


       177.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.

       178.    This Count is brought by the City of Birmingham.

       179.    Each Defendant is associated with an enterprise which affects interstate

commerce for purposes which include the illegal distribution of opioids. As explained herein,

each Defendant Wholesale Distributor conducted or participated in the enterprise’s affairs

through commission of criminal offenses which constitute a pattern of racketeering activity.

       180.    Defendant corporations are “persons” within the meaning of 18 U.S.C.A. §

1961(3) which conducted the affairs of an enterprise through a pattern of racketeering activity, in

violation of 18 U.S.C.A. § 1962.

       181.    The City was injured in its business or property as a result of each Defendant’s

wrongful conduct and is a “person” who can bring an action for violation of section 1962, as that

term is defined in 18 U.S.C.A. § 1961(3). “Any person injured in his business or property by

reason of a violation of section 1962 of this chapter may sue therefor in any appropriate United

States district court and shall recover threefold the damages he sustains and the cost of the suit,

including a reasonable attorney’s fee....” 18 U.S.C.A. § 1964.


      A. The Opioids Diversion Enterprise.

       182.    Each Defendant formed an association-in-fact enterprise (“Opioids Diversion

Enterprise”), and participated in the affairs of this enterprise when distributing highly dangerous,

addictive opioid drugs in the City of Birmingham. Each Defendant’s Opioids Diversion




                                                  51
           Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 52 of 65



Enterprise consists of (a) each Defendant, including its employees and agents; and (b) each

Defendant’s retail pharmacies which placed orders for vast quantities of opioids. Indeed, the

Defendants could not have diverted opioids without the participation of retail pharmacies. The

events described herein required retail pharmacies to place orders for these vast quantities of

opioids.

       183.    Each Defendant and its respective pharmacy customers participated in the conduct

of the Opioids Diversion Enterprise, sharing the common purpose of profiting from the sale of

opioids, through a pattern of racketeering activity, which includes multiple violations of

Alabama state criminal law and multiple instances of mail or wire fraud.

       184.    Each Defendant’s Opioids Diversion Enterprise is an ongoing and continuing

business organization that created and maintained systematic links for a common purpose: to

profit from the sale of prescription opioids. Each Defendant conducted this enterprise

notwithstanding that its failure to abide by mandatory checks and balances constituted unlawful

diversion of a dangerous controlled substance.

       185.    The system is structured such that wholesalers and pharmacies see greater profits

at higher volumes. As a result, these companies are financially discouraged from undertaking

efforts to combat opioid abuse. Wholesale Distributors acquire pharmaceuticals, including

opioids, from manufacturers at an established wholesale acquisition cost (“WAC”). Discounts

and rebates may be offered by the manufacturers based on, inter alia, market share and volume.

Thus, the Defendant Wholesale Distributors are incentivized to order greater amounts so that

they can decrease the cost per pill. The Defendant Wholesale Distributors used the decreased

cost per pill to increase their market share (and thus, profits), by offering more competitive

prices, or they maintained their prices and pocketed the difference as additional profit. Either




                                                 52
           Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 53 of 65



way, increased sales volumes result in increased profits. At every turn, each Defendant

maximized its profits through discounts and rebates by ordering and selling more opioids.

       186.     As described above and expressly incorporated herein, the Defendant Wholesale

Distributors: A) were placed on notice by the DEA, and were the subject of repeated DEA

enforcement actions; and B) misrepresented their compliance with their legal obligations to

maintain a closed system.

       187.    Each Defendant’s Opioid Diversion Enterprise has caused opioids to be abused

throughout the City of Birmingham, with an ongoing cascade of human suffering and death that

continues to consume the City’s resources.

       188.    Each Defendant and its respective retail pharmacy customers were willing

participants in the Opioids Diversion Enterprise, had a common purpose and interest in the

object of the scheme, and functioned within a structure designed to effectuate the Enterprise’s

purpose.

      B. Conduct of the Opioids Diversion Enterprise

       189.    To accomplish the common purpose of profiting from the sale of opioid

prescription pills,    each Defendant’s Opioids Diversion Enterprise periodically and

systematically misrepresented – either affirmatively or through half-truths and omissions – to the

general public, the City of Birmingham, Alabama consumers, and the Alabama State Board of

Pharmacy, that it was fulfilling the requirements of its Alabama wholesale distributor license

when, in fact, the duty to maintain effective controls to prevent diversion for non-medical

purposes was being ignored in pursuit of ever increasing profits.

       190.    The persons engaged in each Defendant’s Opioids Diversion Enterprise are

systematically linked through contractual relationships, financial ties, and continuing




                                                53
           Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 54 of 65



coordination of activities. Typically, this communication occurred, and continues to occur,

through the use of the wires and mail in which each Defendant and its respective retail pharmacy

customers communicate to facilitate the prescription opioid orders.

       191.     Each Defendant’s Opioids Diversion Enterprise functions as a continuing unit for

the purposes of profiting from the sale of opioid prescription drugs.

       192.    At all relevant times, the retail pharmacy customers were aware of Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct.

       193.    The sheer volume of prescription opioids flooding out of the doors of the

Defendant Wholesale Distributors and into communities across the country, including the City of

Birmingham, shocks the conscience and required each Defendant Wholesale Distributor to take

appropriate action, such as investigating and reporting the orders as suspicious. Given their

place in the supply chain, the Defendant Wholesale Distributors are uniquely situated to identify

suspicious transactions. However, determined to increase their revenues, each of the Defendant

Wholesale Distributors willfully ignored obvious warning signs concerning suspicious orders. It

would be virtually impossible for all of the orders to be legitimate, as there was no medical-need

correlation justifying the skyrocketing orders for these addictive drugs.

       194.    For all times relevant to this Complaint, each Defendant exerted control over its

Opioids Diversion Enterprise and participated in the operation and management of the affairs of

the Opioids Diversion Enterprise, directly or indirectly, in the following ways:


            a. Defendants obtained a license from the Alabama State Board of Pharmacy but,

               contrary to the requirements of Alabama law, including federal laws incorporated

               by reference into Alabama law, Defendants failed to take necessary action to




                                                54
Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 55 of 65



    maintain effective controls against diversion of dangerously addictive prescription

    opioids, and in dereliction of non-delegable duties, sold opioid pills to their retail

    pharmacy customers notwithstanding that the increase and quantum of addictive

    drug orders raised serious red flags regarding the drugs’ unlawful, non-medical

    use;

 b. Defendants misrepresented their compliance with their legal obligations, making

    false assurances that their distribution complied with the law, including without

    limitation the requirements of an Alabama distributor license, when, in truth,

    Defendants sold all the opioids they could, for profit, and in violation of their

    legal duties to guard against diversion of prescription opioids for illicit purposes;

 c. Defendants refused to heed the DEA’s warnings and continued to sell opioids and

    fill suspicious orders which were likely to be diverted;

 d. Defendants refused to abide by the terms of DEA enforcement actions and

    settlements, continuing to sell opioids to fill suspicious orders;

 e. Defendants did not monitor, detect, investigate, refuse to fill, and report

    suspicious orders to the Alabama State Board of Pharmacy or the DEA as

    required under the terms of their licenses and applicable law;

 f. Defendants intentionally and/or unlawfully sold the opioids unlawfully, purely for

    profit and without regard to the opioid plague, notwithstanding Defendants’

    knowledge that substantial foreseeable harm would occur;

 g. Defendants only succeeded in these opioid sales by using wire and mail to

    communicate with the retail pharmacies.




                                      55
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 56 of 65



       195.    The retail pharmacies participated in each Defendant’s Opioid Diversion

Enterprise by employing mail and wire to send orders of opioids to Defendants and to buy

opioids from Defendants. The retail pharmacies also participated in each Defendant’s Opioid

Diversion Enterprise by engaging with Defendants in violation of ALA. CODE § 13A-12-211(a),

as described below.

       196.    The scheme devised and implemented by each Defendant, as well as other

members of each Defendant’s Opioids Diversion Enterprise, amounted to a common course of

conduct intended to profit from Opioid sales.


      C. Pattern of Racketeering Activity


       197.    Each Defendant conducted and participated in the conduct of the affairs of each

Defendant’s Opioids Marketing Enterprise through a pattern of racketeering activity, which

violates 18 U.S.C.A. § 1962(c).

       198.    Regardless of any licenses or registrations held by Defendants to distribute

dangerous and harmful drugs, their conduct was not “lawful”.           Defendants engaged in a

fraudulent and unlawful course of conduct constituting a pattern of racketeering activity.

       199.    The pattern of racketeering activity alleged herein and each Defendant’s Opioids

Diversion Enterprise are separate and distinct from each other. Likewise, each Defendant is

distinct from its respective Opioids Diversion Enterprise.

       200.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       201.    Many of the precise dates of the Defendants’ criminal actions at issue here have

been hidden and cannot be alleged without access to Defendants’ books and records. Indeed,



                                                56
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 57 of 65



Defendants’ misrepresentations to the public, the Alabama State Board of Pharmacy, and the

DEA, depended on secrecy.

       202.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including the City and its citizens. Each Defendant crafted its

scheme to ensure its own profits remained high, without regard to the effect such behavior had

on the City and its citizens. In designing and implementing their respective schemes, at all times

each Defendant was cognizant of the fact that those in the distribution chain and the Alabama

Board of Pharmacy and DEA, inter alia, rely on the integrity of the wholesale distributors to

maintain a closed system and to protect against the non-medical uses of these dangerously

addictive opioid drugs.

       203.    Each Defendant knowingly engaged in, attempted to engage in, conspired to

engage in, or solicited another person to engage in racketeering activity, including the

distribution of dangerous and harmful drugs to persons, including minors, in violation of ALA.

CODE § 13A-12-211(a), at retail pharmacies, hospitals, and other health care facilities throughout

the City of Birmingham.

       204.    Defendants’ actions were criminal and in violation of ALA. CODE § 13A-12-

211(a) which forbids which forbids the unlawful distribution of controlled substances. ALA.

CODE § 13A-12-211(a) provides:


       (a) A       person    commits     the   crime     of     unlawful     distribution
           of controlled substances if, except as otherwise authorized, he or she
           sells, furnishes, gives away, delivers, or distributes a controlled substance
           enumerated in Schedules I through V.




                                               57
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 58 of 65



       205.    Defendants were not “otherwise authorized” because Defendants’ conduct was

not in accordance with Alabama Uniform Controlled Substances Act. Because Defendants failed

to report suspicious sales, among other wrongful conduct described herein, their conduct is not in

compliance, thereby stripping them of the “except as otherwise authorized” exemption. This

violation of § 13A-12-211(a) is a Class B felony carrying a prison term in excess of two year

(ALA. CODE § 13A-12-211(b)) and constitutes racketeering activity under 18 U.S.C.A.

1961(1)(A).

       206.    Defendants’ conduct was criminal and constituted a prohibit act under ALA. CODE

§ 20-2-72(a)(4), which provides that “it is unlawful for any person: (4) [t]o furnish false or

fraudulent material information in or omit any material information from any application, report,

or other document required to be kept or filed under this chapter or any record required to be

kept by this chapter.”    Defendants were required to submit to the Alabama State Board of

Pharmacy records and reports required by the Drug Enforcement Administration concerning

increases in purchases or high or unusual volumes purchased by pharmacies within 30 days.”

ALA ADMIN. CODE § 680-X-3-.05; see also, ALA ADMIN. CODE § 680-X-2-.23(2)(e)(5) (“Copies

of records and reports required by the Drug Enforcement Administration concerning increases in

purchases or high or unusual volumes purchased by pharmacies, shall be forwarded to the Board

of Pharmacy.). Defendants failed to provide such reports, which constituted an omission of

material information pursuant to ALA. CODE § 20-2-72(a)(4). This violation of § 20-2-72(a)(4) is

a Class B felony carrying a prison term in excess of two year (ALA. CODE § 20-2-72(b)) and

constitutes racketeering activity under 18 U.S.C.A. 1961(1)(A).


       207.    Defendants’ conduct was criminal and also constituted a prohibit act under

Alabama Uniform Controlled Substance Act, specifically, ALA. CODE § 20-2-71(a)(3), which




                                               58
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 59 of 65



provides that “it is unlawful for any person: (3) To refuse or fail to make, keep or furnish any

record, notification, order form, statement, invoice, or information required under this chapter”.

Pursuant to ALA. CODE § 20-2-56, Defendants were required to “keep records and maintain

inventories in conformance with the record keeping and inventory requirements of federal law

and with any additional rules issued by the State Board of Medical Examiners, the State Board of

Health, or the State Board of Pharmacy.” The Alabama State Board of Pharmacy required that

Defendants submit records and reports required by the Drug Enforcement Administration

concerning increases in purchases or high or unusual volumes purchased by pharmacies within

30 days.” ALA ADMIN. CODE § 680-X-3-.05. Thus, Defendants’ failed to provide information

required by the Alabama Uniform Controlled Substance Act. The first conviction under this

section constitutes a Class A misdemeanor, carrying a sentence of up to one year imprisonment,

however, subsequent convictions constitute a Class B felony, carrying a prison term in excess of

two year (ALA. CODE § 20-2-72(b)). Such conduct constitutes racketeering activity under 18

U.S.C.A. 1961(1)(A).

       208.    Each Defendant knowingly engaged in, attempted to engage in, conspired to

engage in, or solicited another person to engage in racketeering activity, including thousands of

separate instances of use of the United States Mail or interstate wire facilities in furtherance of

each Defendant’s unlawful Opioids Diversion Enterprise. Each of these fraudulent mailings and

interstate wire transmissions constitutes racketeering activity and collectively, these violations

constitute a pattern of racketeering activity. Each Defendant specifically intended to obtain

money by means of false pretenses, representations, and promises, and used the mail and

interstate wires for the purpose of executing this scheme; specifically, each Defendant

communicated with its respective retail pharmacy customers via wire and used the mail to




                                                59
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 60 of 65



receive orders and sell drugs unlawfully. Any violation of the mail or wire fraud statutes is

defined as “racketeering activity.” 18 U.S.C.A. § 1961(1)(B).


       D. Damages

       209.    Defendants’ violations of law and their pattern of racketeering activity have

directly and proximately caused the City and its citizens to be injured in their business or

property because the City has paid for costs associated with the opioid epidemic, as described

above in expressly incorporated herein by reference.

       210.    The City’s injuries, and those of her citizens, were proximately caused by

Defendants’ racketeering activities. But for Defendants’ conduct, the City would not have paid

the public safety and law enforcement services expenditures required by the plague of drug-

addicted residents.

       211.    The City’s injuries, and those of her citizens, were directly caused by Defendants’

racketeering activities.

       212.    The City was most directly harmed, and there is no other Plaintiff better situated

to seek a remedy for the economic harms at issue here.

       213.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, a civil penalty of up to one hundred thousand

dollars, attorney fees and costs (18 U.S.C.A. §1964(c)), and/or pre- and post-judgment interest.



                                            COUNT IV
                                          NEGLIGENCE
                                      ALABAMA COMMON LAW

       214.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully set forth here, and further alleges as follows.




                                                  60
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 61 of 65



        215.   “To establish negligence [under Alabama law], the plaintiff must prove: (1) a duty

to a foreseeable plaintiff; (2) a breach of that duty; (3) proximate causation; and (4) damage or

injury.” Lemley v. Wilson, 178 So. 3d 834, 841 (Ala. 2015). All such essential elements exist

here.

        216.   Each Defendant had an obligation to exercise due care in distributing highly

dangerous opioid drugs in the City of Birmingham.

        217.   In Alabama, the “key factor” for determining whether a duty should be imposed

as a matter of law is the “foreseeability” of the harm that might result if care is not

exercised. ; see also, e.g., Taylor v. Smith, 892 So.2d 887, 892 (Ala.2004) (quoting Key v.

Compass Bank, Inc., 826 So. 2d 159, 170 (Ala. Civ. App. 2001) (in turn quoting Patrick v. Union

State Bank, 681 So.2d 1364, 1368 (Ala.1996). Each Defendant owed a duty to the City of

Birmingham, and to the public health and safety in the City of Birmingham, because the injury

was foreseeable, and in fact foreseen, by the Defendants.

        218.   Reasonably prudent wholesale drug distributors would have anticipated that the

scourge of opioid addiction would wreak havoc on communities. As explained above, the system

whereby wholesale distributors are the gatekeepers between manufacturers and pharmacies exists

for the purpose of controlling dangerous substances such as opioids. Moreover, Defendants were

repeatedly warned by law enforcement. The escalating amounts of addictive drugs flowing

through Defendants’ businesses, and the sheer volume of these prescription opioids, further

alerted Defendants that addiction was fueling increased consumption and that legitimate medical

purposes were not being served.

        219.   A legal duty to exercise care...arises where the parties are bound by contract,...or

where the obligations are expressly or impliedly imposed by statute, municipal ordinance, or by




                                                61
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 62 of 65



administrative rules or regulations, or by judicial decisions.” King v. National Spa & Pool

Institute, 570 So. 2d 612, 614 (Ala.1990) (citations and internal quotation marks omitted). Here,

obligations that established legal duties against which the actions of Defendants can be measured

were expressly imposed by statute. See, 21 U.S.C.A. §§ 823(b)(1) and ALA. CODE § 20-2-

52(a)(1) and (4).

       220.    As described above in language expressly incorporated herein, Defendants

breached their duties to exercise due care in the business of wholesale distribution of dangerous

opioids, which are Schedule II Controlled Substances, by filling highly suspicious orders time

and time again. Because the very purpose of these duties was to prevent the resulting harm –

diversion of highly addictive drugs for non-medical purposes – the causal connection between

Defendants’ breach of duties and the ensuing harm was entirely foreseeable.

       221.    As described above in language expressly incorporated herein, Defendants’

breach of duty caused, bears a causal connection with, and/or proximately resulted in, harm and

damages to the City of Birmingham.

       222.    Defendants acted with actual malice.

       223.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and

all damages allowed by law to be paid by the Defendant Wholesale Distributors, attorney fees

and costs, and pre- and post-judgment interest.

                                      VI. CONCLUSION

       224.    Defendant Wholesale Distributors had a duty to abide by safety laws and maintain

effective controls against diversion of controlled substances under both Alabama and federal

law, including a duty to monitor, detect, report, and refuse to fill suspicious orders of

prescription opioids. Plaintiff, the City of Birmingham, alleges that the Defendant Wholesale


                                                  62
        Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 63 of 65



Distributors unlawfully, negligently, and intentionally breached their duties under federal and

Alabama law, and that such breaches are a proximate cause of the opioid epidemic plaguing the

City of Birmingham. The unlawful, intentional, and negligent conduct by the Defendant

Wholesale Distributors has created a hazard to public health and safety in the City of

Birmingham and constitutes a public nuisance under Alabama law.

                                    VII. RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief:

       1. Enter Judgment in favor of the City in a final order against each of the Defendants;

       2. Enjoin the Defendants and their employees, officers, directors, agents, successors,

          assignees, merged or acquired predecessors, parent or controlling entities,

          subsidiaries, and all other persons acting in concert or participation with them, from

          engaging in unlawful sales of prescription opioid pills and ordering temporary,

          preliminary or permanent injunction;

       3. Order that Defendants compensate the City for its past and future costs to abate the

          ongoing public nuisance caused by the opioid epidemic;

       4. Imposition of an award of actual and triple the actual damages the City sustained as a

          result of Defendants’ violation of the Racketeer Influenced and Corrupt Organizations

          Act;

       5. Award the City its damages caused by the opioid epidemic, including without

          limitation (A) costs for providing emergency response services; (B) costs relating to

          municipal judicial services including inter alia prosecutors and prosecutions, courts

          and court personnel, public defender services, corrections and correctional facilities,

          (C) costs for public welfare and service agencies; (D) costs associated with law




                                               63
         Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 64 of 65



           enforcement and public safety relating to the opioid epidemic; and (E) any other

           expenses or damages caused by the Defendants’ diversion of opioids;

       6. Order Defendants to fund an “abatement fund” for the purposes of abating the opioid

           nuisance;

       7. Award judgment against the Defendants requiring Defendants to pay punitive and

           exemplary damages;

       8. Grant the Plaintiff:

           a. Court costs, including reasonable attorney fees;

           b. Pre-judgment and post-judgment interest, and,

           c. All other relief as provided by law and/or as the Court deems appropriate and just.

Plaintiff asserts claims herein in excess of the minimum jurisdictional requirements of this Court.

       PLAINTIFF DEMANDS A TRIAL BY JURY.


                                             CITY OF BIRMINGHAM, ALABAMA
                                             By Counsel


                                              /s/_Peter J. Mougey________________________


Peter J. Mougey (AL Bar No. ASB-2825-U72P)               Paul T. Farrell, Jr. (pro hac vice pending)
James M. “Mike” Papantonio (pro hac vice pending)        Greene, Ketchum, Farrell,
Archie C. Lamb, Jr. (AL Bar No. ASB-1488-A52A)             Bailey & Tweel
Page A. Poerschke (AL Bar No. ASB-9647-D61P)             419 - 11th Street (25701)/ P.O. Box 2389
Laura S. Dunning (AL Bar No. ASB-1540-U50S)              Huntington, West Virginia 25724-2389
Jeffrey Gaddy (pro hac vice pending)                     Phone: 800.479.0053 or 304.525.9115
Neil E. "Ned" McWilliams, Jr. (pro hac vice pending)     Fax:    304.529.3284
Levin, Papantonio, Thomas, Mitchell,                     Email: paul@greeneketchum.com
     Rafferty & Proctor, p.a.
316 S. Baylen Street, Suite 600
Pensacola, FL 32502-5996
850.435.7068 (office)
850.436.6068 (fax)
pmougey@levinlaw.com



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        Case 2:17-cv-01360-JEO Document 1 Filed 08/14/17 Page 65 of 65



mpapantonio@levinlaw.com
alamb@levinlaw.com
ppoerschke@levinlaw.com
ldunning@levinlaw.com
jgaddy@levinlaw.com
nmcwilliams@levinlaw.com


Russell W. Budd (pro hac vice pending)           Roland K. Tellis (pro hac vice pending)
J. Burton LeBlanc, (pro hac vice pending)        Mark P. Pifko (pro hac vice pending)
Laura J. Baughman (pro hac vice pending)         Baron & Budd, P.C.
S. Ann Saucer (pro hac vice pending)             15910 Ventura Boulevard, Suite 1600
Baron & Budd, P.C.                               Los Angeles, CA 91436
3102 Oak Lawn Avenue, Suite 1100                 Tel.: 818-839-2333
Dallas, TX 75219                                 Fax: 818-986-9698
Tel.: 214-521-3605                               rtellis@baronbudd.com
Fax: 214-520-1181                                mpifko@baronbudd.com
rbudd@baronbudd.com
bleblanc@baronbudd.com
lbaughman@baronbudd.com
asaucer@baronbudd.com


James C. Peterson (pro hac vice pending)         Michael J. Fuller, Jr., (pro hac vice pending)
R. Edison Hill (pro hac vice pending)            Amy Quezon, (pro hac vice pending)
Hill, Peterson, Carper,                          McHugh Fuller Law Group, PLLC
  Bee & Deitzler, PLLC                           97 Elias Whiddon Rd.
NorthGate Business Park                          Hattiesburg, MS 39402
500 Tracy Way                                    Telephone: 601-261-2220
Charleston, WV 25311                             Facsimile: 601-261-2481
304-345-5667                                     mike@mchughfuller.com
304-345-1519 fax                                 amy@mchughfuller.com
jcpeterson@hpcdb.com
rehill@hpcbd.com


Barry W. Walker (AL Bar No. ASB-4526-E52B)
Walker Law, LLC
115 Richard Arrington Jr Blvd N
Birmingham, AL 35203
Phone: 205-252-2770
Fax: 205-252-2119
Email: Barry@bwwlawllc.com




                                            65
